USCA4 Appeal: 21-1255       Doc: 18          Filed: 04/19/2021      Pg: 1 of 83




                                                 No. 21-1255
                                             (1:20-CV-03495-JKB)

                             In The United States Court of Appeals
                                    For the Fourth Circuit

        DOMINIC BIANCHI, an individual and resident of Baltimore County; DAVID SNOPE, an
        individual and resident of Baltimore County; MICAH SCHAEFER, an individual and resident of
        Anne Arundel County; FIELD TRADERS LLC, a resident of Anne Arundel County; FIREARMS
        POLICY COALITION, INC.; SECOND AMENDMENT FOUNDATION; CITIZENS
        COMMITTEE FOR THE RIGHT TO KEEP AND BEAR ARMS,
                                                                                   Plaintiffs – Appellants,
                                                      V.

        BRIAN E. FROSH, in his official capacity as Attorney General of Maryland; COL. WOODROW
        W. JONES, III, in his official capacity as Secretary of State Police of Maryland; R. JAY FISHER,
        in his official capacity as Sheriff of Baltimore County, Maryland; JIM FREDERICKS, in his
        official capacity as Sheriff of Anne Arundel County, Maryland,
                                                                                  Defendants – Appellees.


             APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND



                       BRIEF OF PLAINTIFFS-APPELLANTS

             Raymond M. DiGuiseppe                         David H. Thompson
             law.rmd@gmail.com                             Peter A. Patterson
             The DiGuiseppe Law Firm, P.C.                 Tiernan B. Kane
             4320 Southport-Supply Road, Suite 300         COOPER & KIRK, PLLC
             Southport, North Carolina 28461               1523 New Hampshire Ave., NW
             Phone: 910-713-8804                           Washington, D.C. 20036
             Fax: 910-672-7705                             (202) 220-9600
                                                           dthompson@cooperkirk.com
             Adam Kraut, Esq.
             Firearms Policy Coalition
             1215 K Street, 17th Floor
             Sacramento, CA 95814                          Counsel for Plaintiffs-Appellants
             P: (916) 476-2342
             F: (215) 525-4437
             akraut@fpclaw.org
USCA4 Appeal: 21-1255            Doc: 18             Filed: 04/19/2021            Pg: 2 of 83




                                                TABLE OF CONTENTS

                                                                                                                       Page

        TABLE OF AUTHORITIES ................................................................................... iii

        INTRODUCTION .....................................................................................................1

        JURISDICTION.........................................................................................................2

        ISSUE PRESENTED .................................................................................................3

        STATEMENT OF THE CASE .................................................................................. 3

        I.       Maryland’s Semiautomatic Rifle Ban ............................................................. 3

        II.      The Ban’s Effect on Plaintiffs-Appellants ...................................................... 4

        III.     Course of Proceedings .....................................................................................5

        SUMMARY OF THE ARGUMENT ........................................................................ 6

        ARGUMENT .............................................................................................................7

        I.       The Second Amendment Protects “Arms” That Are in Common Use. .......... 8

                 A.       Common Use Among Present-Day, Law-Abiding Citizens
                          Nationwide Is Determinative. .............................................................. 8

                 B.       Kolbe’s “Military Service” Test Is Incompatible with Heller. ........... 12

        II.      The Rifles Banned by Maryland’s Semiautomatic Rifle Ban Are in
                 Common Use. ............................................................................................... 15

                 A.       Semiautomatic Rifles Are in Common Use. .......................................15



                                                                  i
USCA4 Appeal: 21-1255           Doc: 18              Filed: 04/19/2021           Pg: 3 of 83




                B.       Banned Semiautomatic Rifles Are Not Materially Distinguishable
                         from Other Semiautomatic Rifles. ..................................................... 18

                C.       Banned Firearms Are Typically Possessed for Lawful Purposes. ..... 20

        III.    A Ban on Protected Arms Is Flatly Unconstitutional. ...................................25

                A.       Heller’s Test Is Clear and Categorical. ...............................................25

                B.       Means-End Scrutiny May Be Limited. ...............................................27

        IV.     Maryland’s Ban Fails Any Potentially Applicable Standard of Scrutiny. ... 28

                A.       Strict Scrutiny Is Applicable. ..............................................................28

                B.        The Ban Withstands No Form of Heightened Scrutiny. ................... 30

        CONCLUSION ........................................................................................................42




                                                                 ii
USCA4 Appeal: 21-1255            Doc: 18             Filed: 04/19/2021           Pg: 4 of 83




                                             TABLE OF AUTHORITIES

        Cases                                                                                                         Page
        Ass’n of N.J. Rifle & Pistol Clubs, Inc. v. Att’y Gen.,
           910 F.3d 106 (3d Cir. 2018) ...............................................................................20
        Billups v. City of Charleston, 961 F.3d 673 (4th Cir. 2020) .............................32, 33
        Brown v. Ent. Merch. Ass’n, 564 U.S. 786 (2011) ..................................................29
        Bruni v. City of Pittsburgh, 824 F.3d 353 (3d Cir. 2016) ............................32, 33, 34
        Caetano v. Massachusetts, 136 S. Ct. 1027 (2016) ................ 1, 8, 11, 12, 14, 24, 26
        Carlton & Harris Chiropractic, Inc. v. PDR Network, LLC,
          982 F.3d 258 (4th Cir. 2020) ................................................................................7
        Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah,
          508 U.S. 520 (1993) ......................................................................................28, 29
        City of Los Angeles v. Alameda Books, Inc.,
           535 U.S. 425 (2002) ............................................................................................31
        City of Renton v. Playtime Theatres, Inc.,
           475 U.S. 41 (1986) ..............................................................................................31
        District of Columbia v. Heller,
           554 U.S. 570 (2008) ................................. 1, 2, 8, 9, 10, 11, 12, 13, 14, 25, 29, 35
        Duncan v. Becerra, 366 F. Supp. 3d 1131 (S.D. Cal. 2019) .............................21, 29
        Duncan v. Becerra, 970 F.3d 1133 (9th Cir. 2020) .........................14, 15, 20, 29, 30
        Eriline Co. S.A. v. Johnson, 440 F.3d 648 (4th Cir. 2006) ........................................ 7
        Ezell v. City of Chicago, 651 F.3d 684 (7th Cir. 2011) ...........................8, 22, 27, 30
        Friedman v. City of Highland Park,
           68 F. Supp. 3d 895 (N.D. Ill. 2014) ..............................................................22, 23
        Friedman v. City of Highland Park,
           784 F.3d 406 (7th Cir. 2015) ..............................................................................22
        Grace v. District of Columbia,
          187 F. Supp. 3d 124 (D.D.C. 2016) ........................................................30, 31, 32


                                                                 iii
USCA4 Appeal: 21-1255          Doc: 18             Filed: 04/19/2021          Pg: 5 of 83




        Gun Owners of Am., Inc. v. Garland,
          No. 19-1298, 2021 WL 1138111 (6th Cir. Mar. 25, 2021) ..........................16, 17
        Heller v. District of Columbia, 670 F.3d 1244 (D.C. Cir. 2011).................17, 20, 21
        Heller v. District of Columbia, 801 F.3d 264 (D.C. Cir. 2015).........................31, 32
        Hollis v. Lynch, 827 F.3d 436 (5th Cir. 2016) ...................................................14, 15
        Kolbe v. Hogan,
          849 F.3d 114 (4th Cir. 2017) ....................... 2, 6, 8, 12, 13, 14, 15, 28, 30, 34, 35
        McCullen v. Coakley, 573 U.S. 464 (2014) .......................................................32, 33
        McDonald v. City of Chicago, 561 U.S. 742 (2010) .....................2, 7, 10, 25, 26, 28
        Moore v. Madigan, 702 F.3d 933 (7th Cir. 2012) .......................................27, 30, 42
        N.Y. State Rifle & Pistol Ass’n, Inc. v. Cuomo,
           804 F.3d 242 (2d Cir. 2015) ...............................................................................20
        Nat’l Rifle Ass’n of Am., Inc. v. BATFE,
          714 F.3d 334 (5th Cir. 2013) ..............................................................................29
        Parker v. District of Columbia, 478 F.3d 370 (D.C. Cir. 2007) ..............................29
        People v. Aguilar, 2 N.E.3d 321 (Ill. 2013) .............................................................30
        People v. Webb, 131 N.E.3d 93 (Ill. 2019) ..............................................................26
        Ramirez v. Commonwealth, 94 N.E.3d 809 (Mass. 2018).......................................26
        San Antonio Indep. Sch. Dist. v. Rodriguez, 411 U.S. 1 (1973) ..............................28
        Shew v. Malloy, 994 F.Supp. 2d 234 (D. Conn. 2014) ............................................23
        Staples v. United States, 511 U.S. 600 (1994) .............................................16, 17, 18
        Stenberg v. Carhart, 530 U.S. 914 (2000) .........................................................15, 16
        Thompson v. W. States Med. Ctr., 535 U.S. 357 (2002) ..........................................34
        United States v. Chester, 628 F.3d 673 (4th Cir. 2010)...........................................27
        United States v. Skoien, 614 F.3d 638 (7th Cir. 2010) ............................................30
        Ward v. Rock Against Racism, 491 U.S. 781 (1989) .........................................35, 36
        Worman v. Healey, 293 F. Supp. 3d 251 (D. Mass. 2018) ......................................18


                                                              iv
USCA4 Appeal: 21-1255             Doc: 18               Filed: 04/19/2021              Pg: 6 of 83




        Worman v. Healey, 922 F.3d 26 (1st Cir. 2019) ................................................18, 22
        Wrenn v. District of Columbia, 864 F.3d 650 (D.C. Cir. 2017) ..................27, 31, 32
        Constitution and Statutes
        U.S. Const. amend. II ...........................................................................................8, 25
        18 U.S.C. §
            § 921(a)(20) ..........................................................................................................4
            § 922(g)(1) ............................................................................................................4
        Cal. Penal Code
            § 30600................................................................................................................17
            § 30605................................................................................................................17
        D.C. Code Ann.
            § 7-2501.01(3A)..................................................................................................18
            § 7-2502.02(a)(6) ................................................................................................18
            § 7-2505.01 .........................................................................................................18
            § 7-2505.02(a) .....................................................................................................18
            § 7-2505.02(c) .....................................................................................................18
        Haw. Rev. Stat. § 134-8 ...........................................................................................17
        Md. Code Ann., Crim. Law
            § 4-301 ............................................................................................................3, 15
            § 4-301(h)........................................................................................................3, 15
            § 4-302 ..................................................................................................................4
            § 4-303 ........................................................................................................3, 4, 15
            § 4-303(a) ..............................................................................................................4
            § 4-303(b)(2) .........................................................................................................4
            § 4-303(b)(3) .........................................................................................................4
            § 4-303(b)(4)–(5) ..................................................................................................4
            § 4-304 ..................................................................................................................4
            § 4-306(a) ..............................................................................................................4
        Md. Code Ann., Pub. Safety
            § 5-101(g)(3) .........................................................................................................4


                                                                      v
USCA4 Appeal: 21-1255            Doc: 18               Filed: 04/19/2021             Pg: 7 of 83




            § 5-101(r)(2)....................................................................................................3, 15
            § 5-133(b)(1) .........................................................................................................4
            § 5-205(b)(1) .........................................................................................................4
        Mass. Gen. Laws ch. 140, § 131M ....................................................................17, 18
        N.J. Stat.
            § 2C:39-5(f) ........................................................................................................18
            § 2C:39-9(g) ........................................................................................................18
        N.Y. Penal Law
            § 265.02(7) ..........................................................................................................18
            § 265.10(1)–(3) ...................................................................................................18
        Criminal Procedure – Firearms – Transfer,
           2018 Md. Laws Ch. 251 (H.B. 1646) .................................................................33
        Firearm Safety Act of 2013, 2013 Md. Laws Ch. 427 (S.B. 281) ...........................33

        Other Authorities
        Amicus Curiae Br. of the Nat’l Shooting Sports Found. in Supp. of Pet’rs,
          Friedman v. City of Highland Park, No. 15-133, 2015 WL 5139321 ............... 22
        Mariel Alper, Ph.D., and Lauren Glaze, Source and Uses of Firearms Involved
          in Crimes: Survey of Prison Inmates, 2016, U.S. Dep’t of Just., Off. of Just.
          Progs., Bureau of Just. Stats. (Jan. 2019), https://bit.ly/31VjRa9 ......................24
        Bloomberg, Why Gunmakers Would Rather Sell AR-15s Than Handguns,
           Fortune (June 20, 2018), https://bit.ly/2OJC72H ...............................................21
        D’Vera Cohn et al., Gun Homicide Rate Down 49% Since 1993 Peak; Public
          Unaware, Pew Rsch. Ctr. (May 7, 2013), https://pewrsr.ch/3qwE94l ............... 36
        Frank H. Easterbrook, Abstraction and Authority,
           59 U. Chi. L. Rev. 349 (1992) ............................................................................11
        Educational Attainment in the United States: 2019, U.S. Census Bureau
          (Mar. 30, 2020), https://bit.ly/3qBy077 ..............................................................22
        Expanded Homicide Data Table 8: Murder Victims by Weapon, 2015–2019,
          Crime in the United States, 2019, FBI, U.S. Dep’t of Just.,
          https://bit.ly/31WmQ1V .....................................................................................23

                                                                    vi
USCA4 Appeal: 21-1255            Doc: 18             Filed: 04/19/2021            Pg: 8 of 83




        First-Time Gun Buyers Grow to Nearly 5 Million in 2020,
           NSSF (Aug. 24, 2020), https://bit.ly/37xFH6F ..................................................22
        James Alan Fox & Monica DeLateur, Mass Shootings in America: Moving
           Beyond Newtown, 18 Homicide Studies 125 (2013) ................................. 36, 37
        Dan Gross, I Helped Lead the Gun Control Movement. It’s Asking the Wrong
          Questions. N.Y. Times (Apr. 8, 2021), https://nyti.ms/3uLsznE .................36, 38
        Dan Haar, America’s Rifle: Rise of the AR-15,
          Hartford Courant (Mar. 9, 2013), https://bit.ly/2NFDxuD ................................21
        Robert A. Hahn et al., Firearms Laws and the Reduction of Violence:
          A Systematic Review, 28 Am. J. Prev. Med. 40 (2005) ......................................40
        Stephen P. Halbrook, What the Framers Intended: A Linguistic Analysis of the
           Right To “Bear Arms,” 49 L. & Contemp. Probs. 151 (1986).....................41, 42
        Nicholas J. Johnson, Supply Restrictions at the Margins of Heller and the
           Abortion Analogue, 60 Hastings L.J. 1285 (2009) .............................................21
        Michael J. Klarman, Rethinking the Civil Rights and Civil Liberties Revolutions,
          82 Va. L. Rev. 1 (1996) ......................................................................................11
        Gary Kleck & Mark Gertz, Armed Resistance to Crime: The Prevalence and
          Nature of Self-Defense with a Gun, 86 J. Crim. L. & Crim’y 150 (1995),
          https://bit.ly/2Zv7lgj ...........................................................................................42
        Gary Kleck, Targeting Guns: Firearms and their Control 112 (1997)................... 23
        David B. Kopel, Rational Basis Analysis of “Assault Weapon” Prohibition,
          20 J. Contemp. L. 381 (1994) .................................................................17, 19, 20
        Christopher S. Koper et al., An Updated Assessment of the Federal Assault
          Weapons Ban: Impacts on Gun Markets and Gun Violence,
          1994-2003, Rep. to the Nat’l Inst. of Just., U.S. Dep’t of Just.
          (June 2004)........................................................................................38, 39, 40, 41
        Christopher S. Koper, America’s Experience with the Federal Assault
          Weapons Ban, 1994–2004, in Reducing Gun Violence In America:
          Informing Policy with Evidence and Analysis
          (Daniel W. Webster & Jon S. Vernick eds., 2013).................................36, 39, 40



                                                                 vii
USCA4 Appeal: 21-1255             Doc: 18               Filed: 04/19/2021             Pg: 9 of 83




        Christopher S. Koper, Assessing the Potential to Reduce Deaths and Injuries
          from Mass Shootings Through Restrictions on Assault Weapons and Other
          High-Capacity Semiautomatic Firearms,
          19 Crim’y & Pub. Pol’y 147 (2020) ...................................................................18
        Walt Kuleck & Greg King, The New AR-15 Complete Owner’s Guide
          (2014) ..................................................................................................................20
        Memorandum from Assoc. Director (Compliance Operations), BATFE, to
          Director, BATFE, re: Report and Recommendation of the ATF Working
          Group on the Importability of Certain Semiautomatic Rifles
          (July 6, 1989), https://bit.ly/2M5TGcm..............................................................16
        Frank Miniter, The Future of the Gun 35 (2014)...............................................18, 23
        National Research Council, Firearms and Violence: A Critical Review
          (Charles F. Wellford et al. eds., 2005)................................................................40
        NSSF, Industry Intelligence Reports: Firearm Production in the United States
          7 (2020), https://bit.ly/3blGybB ...................................................................21, 24
        Anthony J. Pinizzotto et al., Violent Encounters (U.S. Dep’t of Just. 2006) ........41
        Rifle Marksmanship: M16-/M4-Series Weapons,
           Dep’t of the Army (2008), https://bit.ly/3pvS3SW ............................................17
        Jeffrey A. Roth & Christopher S. Koper, Impact Evaluation of the Public Safety
           and Recreational Firearms Use Protection Act of 1994 (Final Report) 79
           (Mar. 13, 1997), https://urbn.is/3u91ACW ........................................................39
        Shared Micromobility in the U.S.: 2018, Nat’l Ass’n of City Transp. Offs.,
           https://bit.ly/3dHb2rF .........................................................................................21
        P.K. Stefanopoulos et al., Wound Ballistics of Firearm-Related Injuries—
           Part 2: Mechanisms of Skeletal Injury and Characteristics of Maxillofacial
           Ballistic Trauma, 44 Int’l J. of Oral & Maxillofacial Surgery 67 (2015) ....18, 19
        Josh Sugarmann, Assault Weapons and Accessories in America, Conclusion
           (Violence Policy Center 1988), https://bit.ly/2Zx7mjH .....................................16
        Task Force on Community Preventive Services, Recommendations To Reduce
           Violence Through Early Childhood Home Visitation, Therapeutic Foster
           Care, and Firearms Laws, 28 Am. J. Prev. Med. 6 (2005) ...............................40


                                                                   viii
USCA4 Appeal: 21-1255            Doc: 18             Filed: 04/19/2021            Pg: 10 of 83




        Daniel W. Webster et al., Evidence Concerning the Regulation of Firearms
          Design, Sale, and Carrying on Fatal Mass Shootings in the United States,
          19 Crim’y & Pub. Pol’y 171 (2020) .............................................................37, 38
        James D. Wright & Peter H. Rossi, Armed & Considered Dangerous
           (2d ed. 2017) ................................................................................................... 41




                                                                  ix
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 11 of 83
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 12 of 83
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 13 of 83
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 14 of 83
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 15 of 83
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 16 of 83
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 17 of 83
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 18 of 83
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 19 of 83
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 20 of 83
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 21 of 83
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 22 of 83
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 23 of 83
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 24 of 83
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021   Pg: 25 of 83




                                        INTRODUCTION

              Maryland bans its law-abiding citizens from protecting themselves, their

        families, and their homes with semiautomatic rifles it inaccurately and tendentiously

        deems to be “assault weapons.” Under District of Columbia v. Heller, the State can

        justify its Semiautomatic Rifle Ban only by proving that the prohibited firearms are

        not “ ‘in common use’ . . . for lawful purposes like self-defense,” but rather are

        “highly unusual in society at large.” 554 U.S. 570, 624, 628 (2008) (quoting United

        States v. Miller, 307 U.S. 174, 179 (1939)); see also Caetano v. Massachusetts, 577

        U.S. 411, 420 (2016) (Alito, J., concurring) (“The pertinent Second Amendment

        inquiry is whether [the banned arms] are commonly possessed by law-abiding

        citizens for lawful purposes today.”).

              That is a hopeless task. The semiautomatic rifles the State misleadingly calls

        “assault weapons” include some of the nation’s most common firearms. Indeed,

        millions of Americans possess the rifles banned by this act for lawful purposes.

        These arms are no more powerful than rifles that are not banned, and they fire at the

        same rate as all semiautomatics—one round for each pull of the trigger. To the extent

        the features that make a rifle an “assault weapon” make a functional difference at

        all, they promote accuracy and hence make a firearm safer and more effective for

        self-defense. The banned rifles are in common use, therefore, and the Second

        Amendment applies to them.


                                                  1
USCA4 Appeal: 21-1255       Doc: 18     Filed: 04/19/2021    Pg: 26 of 83




              Because the Second Amendment “applies to” the banned rifles, it follows

        under Heller that “citizens must be permitted to use [them] for the core lawful

        purpose of self-defense.” McDonald v. City of Chicago, 561 U.S. 742, 767–68

        (2010) (cleaned up). Laws banning protected firearms are “off the table,” Heller,

        554 U.S. at 636, and Maryland’s ban of such arms is therefore categorically

        unconstitutional.

              To be sure, Appellants acknowledge that the result they seek is contrary to

        Kolbe v. Hogan, 849 F.3d 114 (4th Cir. 2017), and that a panel of this Court is bound

        by that decision to rule in the State’s favor. Appellants submit, however, that Kolbe

        was wrongly decided, and they therefore continue to pursue this litigation to

        vindicate their Second Amendment rights and seek to have Kolbe overruled by a

        court competent to do so.

                                         JURISDICTION

              Appellants allege that provisions of Maryland law violate the United States

        Constitution. JA 21–23 ¶¶ 64–73. The district court had subject matter jurisdiction

        pursuant to 28 U.S.C. §§ 1331 and 1343 because this case involves a constitutional

        challenge to state law. The district court entered judgment on March 4, 2021, and

        Appellants noticed their appeal on March 5, 2021. JA 42, 44. The appeal is from a

        final judgment that disposes of all parties’ claims. Id. This Court has jurisdiction

        pursuant to 28 U.S.C. § 1291.


                                                 2
USCA4 Appeal: 21-1255    Doc: 18        Filed: 04/19/2021    Pg: 27 of 83




                                      ISSUE PRESENTED

              Whether Maryland’s ban on commonly possessed rifles that the State

        mischaracterizes as “assault weapons” violates the Second Amendment, as

        incorporated against the State of Maryland by the Fourteenth Amendment.

                                   STATEMENT OF THE CASE

        I.    Maryland’s Semiautomatic Rifle Ban

              The State of Maryland deems scores of common semiautomatic rifles “assault

        weapons”—and bans them outright. Md. Code Ann., Crim. Law §§ 4-301, 4-303;

        id., Pub. Safety § 5-101(r)(2). The State also has banned any “copy” of the

        enumerated rifles, id., as well as the following “copycat weapon[s]”:

              (i) a semiautomatic centerfire rifle that can accept a detachable
              magazine and has any two of the following:
                      1. a folding stock;
                      2. a grenade launcher or flare launcher; or
                      3. a flash suppressor;
              (ii) a semiautomatic centerfire rifle that has a fixed magazine with the
              capacity to accept more than 10 rounds;
              (iii) a semiautomatic centerfire rifle that has an overall length of less
              than 29 inches.1

        Id., Crim. Law § 4-301(h).

              Maryland’s broad ban on transporting, possessing, offering to sell,

        transferring, purchasing, or receiving any “assault” rifle applies to everyone who


              1
                Maryland also prohibits certain semiautomatic pistols and shotguns. On
        appeal, Plaintiffs-Appellants challenge only Maryland’s ban on semiautomatic
        rifles.
                                                 3
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021    Pg: 28 of 83




        does not fall into one of a few, specific, narrow categories—primarily on-duty

        military personnel, law enforcement officers, and certain other government officials.

        See id., Crim. Law §§ 4-302, 4-303(b)(2), (4)–(5).

              Ordinary citizens may transport or possess “assault” rifles, including “copycat

        weapon[s],” only if they possessed, purchased, or applied to purchase them on or

        before October 1, 2013. Id. § 4-303(a), (b)(3).

              If an ordinary, law-abiding citizen keeps or bears a rifle that does not fall into

        this grandfathered category, and Maryland’s Semiautomatic Rifle Ban has dubbed

        that arm an “assault weapon,” Appellees or their agents may seize and dispose of

        that arm, regardless of whether it is in common use. See id. § 4-304. Moreover, any

        ordinary, law-abiding citizen who possesses such “assault weapons,” or transports

        them into the State, commits a criminal offense and is subject to severe sanctions,

        including imprisonment for up to three years for the first offense. Id. §§ 4-303,

        4-306(a). Further, under both state and federal law, conviction under these

        provisions results in a lifetime ban on possession even of firearms that have not been

        prohibited as “assault weapons.” See id., Pub. Safety §§ 5-101(g)(3), 5-133(b)(1),

        5-205(b)(1) (Maryland law); 18 U.S.C. §§ 922(g)(1), 921(a)(20) (federal law).

        II.   The Ban’s Effect on Plaintiffs-Appellants

              Dominic Bianchi, David Snope, and Micah Schaefer are ordinary, law-

        abiding, adult citizens of Maryland. See JA 7 ¶¶ 9–11. None has been convicted of


                                                  4
USCA4 Appeal: 21-1255    Doc: 18        Filed: 04/19/2021   Pg: 29 of 83




        a felony or adjudicated mentally incompetent, nor is any of them otherwise

        prohibited under Maryland or federal law from purchasing, acquiring, and

        possessing operable firearms. See id. Each individual wants to acquire a banned

        firearm for self-defense and other lawful purposes but has been barred from doing

        so by Maryland’s Semiautomatic Rifle Ban. JA 17–18 ¶¶ 40–42; JA 19 ¶ 48. And

        Firearms Policy Coalition, Inc., Second Amendment Foundation, and Citizens

        Committee for the Right to Keep and Bear Arms each have numerous members in

        Maryland who, like the individual plaintiffs in this case, are otherwise eligible to

        acquire banned firearms and would do so, but for the Ban. JA 18–19 ¶¶ 45–48.

               Finally, Field Traders LLC is likewise injured by the Semiautomatic Firearm

        Ban. Field Traders is a licensed firearm dealer in Maryland that has been forced to

        forgo numerous firearm sales to lawful purchasers because of the Ban. JA 7 ¶ 12;

        JA18 ¶¶ 43–44.

        III.   Course of Proceedings

               On December 1, 2020, Appellants filed this action for declaratory and

        injunctive relief in the U.S. District Court for the District of Maryland, JA 23–24,

        alleging that Maryland’s categorical ban on the possession of common

        semiautomatic firearms tendentiously and inaccurately labelled “assault weapons”

        was facially unconstitutional under the Second Amendment, which is applicable to

        Maryland under the Fourteenth Amendment. JA 21–22. Appellants’ Complaint


                                                 5
USCA4 Appeal: 21-1255    Doc: 18        Filed: 04/19/2021   Pg: 30 of 83




        conceded that their Second Amendment claim was foreclosed at the district-court

        level by this Court’s decision in Kolbe, 849 F.3d 114, which upheld Maryland’s

        Semiautomatic Rifle Ban against an earlier Second Amendment challenge. JA 6 ¶ 5.

              Noting this concession, on February 16, 2021, the district court ordered

        Appellants to show cause why their case should not be dismissed sua sponte for

        failure to state a claim upon which relief may be granted. JA 40–41. In response,

        Appellants again acknowledged that Kolbe is controlling, but argued that it was

        wrongly decided and should be overruled by a court competent to do so. Pls.’ Resp.

        to the Ct.’s Order To Show Cause, Doc. 27 (Feb. 19, 2021). On March 4, 2021, the

        court dismissed Appellants’ complaint, finding “no discretion but” to do so because

        “Plaintiffs’ theory is foreclosed by the Fourth Circuit’s opinion deciding Kolbe v.

        Hogan.” JA 42.

              On March 5, 2021, Appellants timely noticed their appeal. JA 44.

                              SUMMARY OF THE ARGUMENT

              The Second Amendment guarantees law-abiding citizens the right to possess

        and use firearms. Maryland infringes this right by prohibiting its citizens from

        possessing popular semiautomatic rifles that it labels “assault weapons.” Like the

        District of Columbia’s handgun ban, Maryland’s ban would fail either under Heller’s

        categorical test or under any standard of heightened constitutional scrutiny.

        Although Kolbe bound the district court to rule as it did, it was error to find that


                                                 6
USCA4 Appeal: 21-1255    Doc: 18        Filed: 04/19/2021    Pg: 31 of 83




        Maryland’s ban does not violate the Second Amendment. Kolbe should be

        overturned by a court competent to do so.

                                          ARGUMENT

              This Court “review[s] a district court’s dismissal of a complaint under Federal

        Rule of Civil Procedure 12(b)(6) de novo, ‘assuming as true the complaint’s factual

        allegations and construing all reasonable inferences in favor of the plaintiff.’ ”

        Carlton & Harris Chiropractic, Inc. v. PDR Network, LLC, 982 F.3d 258, 260 (4th

        Cir. 2020) (quoting Semenova v. Md. Transit Admin., 845 F.3d 564, 567 (4th Cir.

        2017); see also Eriline Co. S.A. v. Johnson, 440 F.3d 648, 653 (4th Cir. 2006)

        (reviewing sua sponte dismissal de novo).

              At the heart of this case is a simple question: Are the semiautomatic rifles

        banned by Maryland “Arms” protected by the Second Amendment? If they are, their

        prohibition is flatly unconstitutional. This necessarily follows from the Supreme

        Court’s decision in Heller, which established that law-abiding citizens are entitled

        to own firearms that are in common use, full stop. Under McDonald, moreover, the

        Second Amendment applies against the states via the Fourteenth Amendment,

        561 U.S. at 749, 778, thus binding Maryland.

              But in Kolbe, the Fourth Circuit failed to apply Heller’s common-use test.

        Instead of applying the test prescribed by Supreme Court precedent, Kolbe applied

        a test of its own devising and held that the banned arms are constitutionally


                                                 7
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021   Pg: 32 of 83




        unprotected because they purportedly are “like” arms that are most useful in military

        service. Kolbe, 849 F.3d at 137. The Kolbe majority departed from Heller a second

        time in an alternative analysis, applying a tiers-of-scrutiny balancing test advocated

        by Justice Breyer’s dissent in Heller, but rejected by the Court. And Kolbe further

        erred in applying the tiers-of-scrutiny test that Heller set aside, since under any

        standard of heightened constitutional scrutiny Maryland’s Semiautomatic Rifle Ban

        violates the Second Amendment. Thus, Kolbe should be overturned by a court

        competent to do so, and Appellants’ Second Amendment rights should be

        vindicated.

        I.    The Second Amendment Protects “Arms” That Are in Common Use.

              A.      Common Use Among Present-Day, Law-Abiding                      Citizens
                      Nationwide Is Determinative.

              The text of the Second Amendment provides that “the right of the people to

        keep and bear Arms, shall not be infringed.” U.S. Const. amend. II. Heller holds that

        “the Second Amendment extends, prima facie, to all instruments that constitute

        bearable arms.” 554 U.S. at 582; accord Caetano, 577 U.S. at 411. The burden thus

        falls on the government to demonstrate that a particular type of bearable arm falls

        outside the Second Amendment’s scope. See Ezell v. City of Chicago, 651 F.3d 684,

        702–03 (7th Cir. 2011) (The government bears the burden to “establish that a

        challenged firearms law regulates activity falling outside the scope of the Second

        Amendment right.”).

                                                  8
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021     Pg: 33 of 83




              To meet this burden, Appellees must show that an arm is “not typically

        possessed by law-abiding citizens for lawful purposes.” Heller, 554 U.S. at 625; see

        also id. at 627 (arms “highly unusual in society at large” are not protected). This

        standard is based on historical practices and “the historical understanding of the

        scope of the right.” Heller, 554 U.S. at 625. On the one hand, “[t]he traditional

        militia” that the Second Amendment was designed to protect “was formed from a

        pool of men bringing arms in common use at the time for lawful purposes like self-

        defense.” Id. at 624 (quotation marks omitted). On the other hand, the right to bear

        arms coexisted with a “historical tradition of prohibiting the carrying of ‘dangerous

        and unusual weapons.’ ” Id. at 627.

              Courts and legislatures do not have the authority to second-guess the choices

        made by law-abiding citizens by questioning whether they really “need” the arms

        that ordinary citizens have chosen to possess. While Heller noted several “reasons

        that a citizen may prefer a handgun for home defense,” the Court held that

        “[w]hatever the reason, handguns are the most popular weapon chosen by

        Americans for self-defense in the home, and a complete prohibition of their use is

        invalid.” Id. at 629 (emphasis added). Thus, if the government cannot show that a

        certain type of firearm is “not typically possessed by law-abiding citizens for lawful

        purposes,” id. at 625, that is the end of the matter—firearms of that type are protected

        “Arms” and cannot be banned.


                                                   9
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021    Pg: 34 of 83




              McDonald underscores this point. In dissent, Justice Breyer argued against

        incorporation of the Second Amendment right because “determining the

        constitutionality of a particular state gun law requires finding answers to complex

        empirically based questions of a kind that legislatures are better able than courts to

        make,” such as, “What sort of guns are necessary for self-defense? Handguns?

        Rifles? Semiautomatic weapons? When is a gun semiautomatic?” 561 U.S. at 922–

        23 (Breyer, J., dissenting). Justice Alito’s controlling opinion squarely rejected this

        argument: “Justice BREYER is incorrect that incorporation will require judges to

        assess the costs and benefits of firearms restrictions . . . . [W]hile his opinion

        in Heller recommended an interest-balancing test, the Court specifically rejected

        that suggestion.” Id. at 790–91 (plurality opinion). When determining which arms

        are protected, it is the choices commonly made by the American People that matter,

        not judges’ or legislators’ assessments of those choices.

              It is likewise irrelevant that criminals may prefer to use a certain firearm for

        the same reasons that law-abiding citizens use it. In Heller, Justice Breyer

        emphasized that “the very attributes that make handguns particularly useful for self-

        defense are also what make them particularly dangerous.” 554 U.S. at 711 (Breyer,

        J., dissenting). The majority, by contrast, focused on the choices of law-abiding

        citizens, not the choices of criminals or the reasons why criminals make those

        choices. Heller thus makes clear that focusing on how criminals might misuse


                                                  10
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021    Pg: 35 of 83




        firearms is the wrong analytical approach. Instead, the proper question under the

        Second Amendment is whether law-abiding citizens use certain arms for self-

        defense and other lawful purposes.

              To be clear, the Second Amendment looks to the practices of the American

        People nationwide, see Heller, 554 U.S. at 628 (handguns are “overwhelmingly

        chosen by American society” for self-defense (emphasis added)); Caetano, 577 U.S.

        at 420 (Alito, J., concurring) (“stun guns are widely owned and accepted as a

        legitimate means of self-defense across the country” (emphasis added)). Thus, the

        Amendment protects those who live in states or localities with a less robust tradition

        of protecting the right to keep and bear arms from outlier legislation (like Maryland’s

        ban here) that falls short of national standards. In this way, the Second Amendment

        is similar to many other constitutional guarantees that hold state and local

        governments to minimum standards that are acceptable nationwide, for

        “constitutional adjudication frequently involves the justices’ seizing upon a

        dominant national consensus and imposing it on resisting local outliers,” Michael J.

        Klarman, Rethinking the Civil Rights and Civil Liberties Revolutions, 82 Va. L. Rev.

        1, 16 (1996). More pithily, the Supreme Court “obliterates outliers.” Frank H.

        Easterbrook, Abstraction and Authority, 59 U. Chi. L. Rev. 349, 370 (1992). Heller’s

        common-use test facilitates a similar outcome in the Second Amendment context.

        See, e.g., Heller, 554 U.S. at 629.


                                                  11
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021   Pg: 36 of 83




              Finally, the Second Amendment inquiry focuses on the choices commonly

        made by contemporary law-abiding citizens. Heller emphasized that the District of

        Columbia’s “handgun ban amounts to a prohibition of an entire class of ‘arms’ that

        is overwhelmingly chosen by American society” for self-defense, id. at 628

        (emphasis added), and it rejected as “bordering on the frivolous” “the argument . . .

        that only those arms in existence in the 18th century are protected,” id. at 582. In

        Caetano, the Supreme Court reiterated this point, holding that “Arms” protected by

        the Second Amendment need not have been “in existence at the time of the

        Founding.” 577 U.S. 411–12 (quoting Heller, 554 U.S. at 582). The Caetano Court

        flatly denied that a particular type of firearm’s being “a thoroughly modern

        invention” is relevant to determining whether the Second Amendment protects it. Id.

              B.     Kolbe’s “Military Service” Test Is Incompatible with Heller.

              The en banc court in Kolbe did not deny that the semiautomatic rifles

        Maryland bans are in common use. Instead, the court interpreted Heller to exclude

        from Second Amendment protection any firearms that “are ‘like’ ‘M-16 rifles’—

        ‘weapons that are most useful in military service,’ ” 849 F.3d at 135 (quoting Heller,

        554 U.S. at 627). This position is a misreading of Heller, however, and should be

        abandoned.

              The relevant passage in Heller is part of the Court’s explanation that

        “dangerous and unusual weapons” are not “Arms” under the Second Amendment.


                                                 12
USCA4 Appeal: 21-1255     Doc: 18       Filed: 04/19/2021    Pg: 37 of 83




        To that end, the Court notes that “[i]t may be objected that if weapons that are most

        useful in military service—M–16 rifles and the like—may be banned, then the

        Second Amendment right is completely detached from the prefatory clause.”

        554 U.S. at 627. To the possibility that weapons extremely useful in military service

        may be banned—if, that is, they are “highly unusual in society at large”—the Court

        responds: “[T]he fact that modern developments have limited the degree of fit

        between the prefatory clause and the protected right cannot change our interpretation

        of the right.” Id. at 627–28.

              Kolbe seizes on the Court’s oblique reference to “M–16 rifles and the like”

        and transmutes that aside into the key to understanding which firearms the Second

        Amendment protects. But far from “dr[awing] a ‘bright line’ . . . between weapons

        that are most useful in military service and those that are not,” Kolbe, 849 F.3d at

        136–37, Heller repeatedly refused to draw a line based on the usefulness of weapons

        in war, see 554 U.S. at 581, 624–25. As Justice Alito noted in his concurrence to

        Caetano, “[T]he Second Amendment . . . protects . . . weapons as a class, regardless

        of any particular weapon’s suitability for military use.” 577 U.S. at 419 (emphasis

        added).

              On this point, Kolbe directly contradicts Heller and, in the process, threatens

        to empty the key constitutional term “Arms”—and thus the Second Amendment

        more broadly—of meaning. As Judge Traxler noted in his dissent, “nearly all


                                                 13
USCA4 Appeal: 21-1255     Doc: 18         Filed: 04/19/2021    Pg: 38 of 83




        firearms can be useful in military service.” 849 F.3d at 157 (Traxler, J., dissenting).

        Certainly, “a settler’s musket, the only weapon he would likely own and bring to

        militia service, would be most useful in military service—undoubtedly a weapon of

        war.” Id. at 156 (Traxler, J., dissenting). Indeed, it would be passing strange if

        usefulness in military service disqualified a firearm from Second Amendment

        protection, as Heller makes clear that a primary reason the Second Amendment was

        included in the Constitution was to “prevent elimination of the militia.” Heller,

        554 U.S. at 599. The Second Amendment would not “assure the existence of a

        ‘citizen’s militia’ as a safeguard against tyranny” if it left the government free to ban

        commonly held arms most useful in militia service. Id. at 600.

              It is no answer to say that only modern weapons useful in military service are

        unprotected, see Kolbe, 849 F.3d at 143. Again, “[t]his is inconsistent with Heller’s

        clear statement that the Second Amendment ‘extends . . . to . . . arms . . . that were

        not in existence at the time of the founding.’ ” Caetano, 577 U.S. at 412.

              The short of it is this: Kolbe is flatly incompatible with Heller and Caetano.

        No other circuit has joined its reasoning, and a panel of the Ninth Circuit has

        explicitly rejected it. Duncan v. Becerra, 970 F.3d 1133, 1149 (9th Cir. 2020), reh’g

        en banc granted, op. vacated by 988 F.3d 1209 (2021) 2; see also Hollis v. Lynch,


              2
                  Although the en banc court has vacated the Duncan panel’s opinion pending
        its review of the case, the opinion retains its persuasive force and we accordingly
        cite it for that purpose in this brief.
                                                   14
USCA4 Appeal: 21-1255      Doc: 18       Filed: 04/19/2021   Pg: 39 of 83




        827 F.3d 436, 445–46 (5th Cir. 2016) (affirming that “protected weapons are ‘those

        in common use at the time,’” even “though that category at times may overlap” with

        the category of weapons that “are useful in the militia or military”). Duncan, not

        Kolbe, correctly identifies “the test announced by the Supreme Court in Heller and

        Caetano: Arms are not unusual if commonly owned and typically used by law-

        abiding citizens for lawful purposes.” Duncan, 970 F.3d at 1149; accord Hollis, 827

        F.3d at 446.

        II.   The Rifles Banned by Maryland’s Semiautomatic Rifle Ban Are in
              Common Use.
              Maryland bans a list of specifically identified rifles, Md. Code Ann., Crim.

        Law §§ 4-301, 4-303; id., Pub. Safety § 5-101(r)(2), “cop[ies]” of such rifles, id.,

        and semiautomatic rifles with certain features, id., Crim Law §§ 4-301(h), 4-303.

        The modern sporting rifle, especially the AR-15, is representative of what

        Maryland’s Semiautomatic Rifle Ban prohibits. See Kolbe, 849 F.3d at 120 (4th Cir.

        2017). Both these facts—that Maryland targets semiautomatic rifles and that the

        modern sporting rifle is representative of those firearms—demonstrate that

        Maryland bans arms protected by the Second Amendment.

              A.       Semiautomatic Rifles Are in Common Use.

              There is no class of firearms known as “semiautomatic assault weapons.”

        “Prior to 1989, the term ‘assault weapon’ did not exist in the lexicon of firearms. It

        is a political term, developed by anti-gun publicists . . . .” Stenberg v. Carhart,

                                                 15
USCA4 Appeal: 21-1255     Doc: 18         Filed: 04/19/2021    Pg: 40 of 83




        530 U.S. 914, 1001 n.16 (2000) (Thomas, J., dissenting). Anti-gun publicists

        promoting “assault weapons” bans have sought to exploit “the public’s confusion

        over fully automatic machine guns versus semi-automatic assault weapons” to

        “increase the chance of public support for restrictions on these weapons.” Josh

        Sugarmann, Assault Weapons and Accessories in America, Conclusion (Violence

        Policy Center 1988), https://bit.ly/2Zx7mjH; see also Memorandum from Assoc.

        Director (Compliance Operations), BATFE, to Director, BATFE, re: Report and

        Recommendation of the ATF Working Group on the Importability of Certain

        Semiautomatic Rifles at 5–6 (July 6, 1989), https://bit.ly/2M5TGcm (“[I]t is

        somewhat of a misnomer to refer to [semi-automatic] weapons as ‘assault rifles’ ”

        because “[t]rue assault rifles are selective fire weapons that will fire in a fully

        automatic mode.”).

              While “semiautomatic assault weapons” is not a recognized category of

        firearms, “semiautomatic” is. And it is semiautomatic rifles that Maryland’s “assault

        weapons” ban targets. The “automatic” part of “semiautomatic” refers to the fact

        that the user need not manually load another round in the chamber after each round

        is fired. But unlike an automatic rifle, a semiautomatic rifle will not fire continuously

        on one pull of its trigger; rather, a semiautomatic rifle requires the user to pull the

        trigger each time he or she wants to discharge a round. See Staples v. United States,

        511 U.S. 600, 602 n.1 (1994); Gun Owners of Am., Inc. v. Garland, No. 19-1298,


                                                   16
USCA4 Appeal: 21-1255     Doc: 18       Filed: 04/19/2021    Pg: 41 of 83




        2021 WL 1138111, at * 19 (6th Cir. Mar. 25, 2021). There is a significant practical

        difference between a truly automatic and a merely semiautomatic rifle. According

        to the United States Army, for example, the maximum effective rates of fire for

        various M4- and M16-series firearms is between forty-five and sixty-five rounds per

        minute in semiautomatic mode, versus 150-200 rounds per minute in automatic

        mode. Rifle Marksmanship: M16-/M4-Series Weapons, Dep’t of the Army 2-1 tbl.

        2-1 (2008), https://bit.ly/3pvS3SW.

              There is a venerable tradition in this country of lawful private ownership of

        semiautomatic rifles. The Supreme Court has held as much, concluding in Staples

        that semiautomatics, unlike machine guns, “traditionally have been widely accepted

        as lawful possessions.” Staples, 511 U.S. at 612. Semiautomatic rifles have been

        commercially available for over a century. See Heller v. District of Columbia (Heller

        II), 670 F.3d 1244, 1287 (D.C. Cir. 2011) (Kavanaugh, J., dissenting); David B.

        Kopel, Rational Basis Analysis of “Assault Weapon” Prohibition, 20 J. Contemp. L.

        381, 413 (1994). Yet apart from the now-expired ten-year federal “assault weapons”

        ban, the Federal Government has not banned them. And currently the vast majority

        of States do not ban semiautomatic “assault weapons.”3


              3
                  In addition to Maryland, only California, Connecticut, Hawaii,
        Massachusetts, New Jersey, and New York, as well as the District of Columbia, have
        enacted bans on “assault weapons,” with varying definitions of the prohibited
        firearms. See Cal. Penal Code §§ 30600, 30605; Haw. Rev. Stat. § 134-8; Mass. Gen.

                                                 17
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021    Pg: 42 of 83




              B.     Banned Semiautomatic Rifles Are Not Materially Distinguishable
                     from Other Semiautomatic Rifles.

              It is no answer to say that Maryland bans only a subset of semiautomatic rifles.

        Indeed, this line of argument is foreclosed not only by Heller but also by Staples,

        which identified the AR-15—the archetypal “assault weapon”—as a traditionally

        lawful firearm. See 511 U.S. at 603, 611.

              The firearms that Maryland bans are not distinguishable for being more

        dangerous than rifles that the State does not ban. “AW-type firearms do not operate

        differently than other comparable semiautomatics, nor do they fire more lethal

        ammunition.” Christopher S. Koper, Assessing the Potential to Reduce Deaths and

        Injuries from Mass Shootings Through Restrictions on Assault Weapons and Other

        High-Capacity Semiautomatic Firearms, 19 Crim’y & Pub. Pol’y 147, 149 (2020).

        Indeed, the AR-15 is typically chambered for .223in/5.56mm ammunition, see, e.g.,

        Worman v. Healey, 293 F. Supp. 3d 251, 258 (D. Mass. 2018), aff’d, 922 F.3d 26

        (1st Cir. 2019), which “makes it safer to use as a home-defense gun because this

        lighter caliber is less likely to travel through walls,” Frank Miniter, The Future of

        the Gun 35 (2014). Of course, modern sporting rifles like the AR-15 discharge with

        high energy, but that is true of rifles generally, as well as many handguns. See, e.g.,




        Laws ch. 140, § 131M; N.J. Stat. §§ 2C:39-5(f), 2C:39-9(g); N.Y. Penal Law §§
        265.02(7), 265.10(1)–(3); D.C. Code Ann. §§ 7-2501.01(3A), 7-2502.02(a)(6),
        7-2505.01, 7-2505.02(a), (c)).
                                                  18
USCA4 Appeal: 21-1255      Doc: 18        Filed: 04/19/2021     Pg: 43 of 83




        P.K. Stefanopoulos et al., Wound Ballistics of Firearm-Related Injuries—Part 2:

        Mechanisms of Skeletal Injury and Characteristics of Maxillofacial Ballistic

        Trauma, 44 Int’l J. of Oral & Maxillofacial Surgery 67, 68 (2015) (“Military and

        hunting rifles, as well as Magnum handguns, produce high-energy injuries.). And

        “[a]bove all, potentially lethal or disabling effects depend more upon the anatomical

        track of the missile rather than its energy transfer characteristics.” Id. at 69. Finally,

        the rifles Maryland bans also fire at the same rate as all other semiautomatics—one

        round for each pull of the trigger. The features banned by Maryland do not increase

        the rapidity with which a rifle can be fired.

              To the extent the cosmetic features singled out by Maryland’s Semiautomatic

        Rifle Ban make any functional difference, they tend to improve a firearm’s utility

        and safety for self-defense and other lawful purposes. For example:

           • A folding stock increases maneuverability in tight home quarters, Kopel,

              supra, at 398–99, as well as enabling safe storage of defense instruments in

              accessible spaces.

           • A flash suppressor is a “common accessory” that “reduces the flash of light”

              from a firearm shot, thus reducing the chance that a home-invader will mark

              his victim’s position, as well as decreasing the homeowner’s blindness—“the

              momentary blindness caused by the sudden flash of light from the explosion

              of gunpowder.” Id. at 397.

                                                   19
USCA4 Appeal: 21-1255     Doc: 18         Filed: 04/19/2021    Pg: 44 of 83




           • A semiautomatic centerfire rifle that has an overall length of less than twenty-

              nine inches, but which meets the federal overall length requirement of twenty-

              six inches, is helpful in home-defense situations because of its reduced mass

              at the firearm’s least supported position, to those of smaller stature or less

              strength, and to reduce the length of the barrel to better move around obstacles

              and through hallways, for example. See Walt Kuleck & Greg King, The New

              AR-15 Complete Owner’s Guide 81 (2014) (in self-defense, “[t]he shortest

              practical overall length is usually considered a ‘good thing’ ”).

              C.     Banned Firearms Are Typically Possessed for Lawful Purposes.

              Maryland bans firearms with legitimate, safety-improving features law-

        abiding citizens may prefer to use for self-defense and other lawful purposes. But

        under Heller, of course, the key point is that millions of law-abiding citizens choose

        to possess firearms with those features. Duncan, 970 F.3d at 1147 (“Commonality

        is determined largely by statistics.”); Ass’n of N.J. Rifle & Pistol Clubs, Inc. v. Att’y

        Gen., 910 F.3d 106, 116 (3d Cir. 2018) (finding an “arm” is commonly owned

        because “[t]he record shows that millions . . . are owned”); N.Y. State Rifle & Pistol

        Ass’n, Inc. v. Cuomo, 804 F.3d 242, 255 (2d Cir. 2015) (“Even accepting the most

        conservative estimates cited by the parties and by amici, the assault weapons . . . at

        issue are ‘in common use’ as that term was used in Heller.”); Heller II, 670 F.3d at

        1261 (“We think it clear enough in the record that semi-automatic rifles . . . are

                                                   20
USCA4 Appeal: 21-1255     Doc: 18         Filed: 04/19/2021   Pg: 45 of 83




        indeed in ‘common use.’ ”). This is demonstrated by the AR-15 and other modern

        sporting rifles, which epitomize the firearms that Maryland bans.

              The AR-15 is America’s “most popular semi-automatic rifle,” Heller II, 670

        F.3d at 1287 (Kavanaugh, J., dissenting), and in recent years it has been “the best-

        selling rifle type in the United States,” Nicholas J. Johnson, Supply Restrictions at

        the Margins of Heller and the Abortion Analogue, 60 Hastings L.J. 1285, 1296

        (2009). Already in early 2013, sources estimated that there were five million AR-15s

        in private hands. Dan Haar, America’s Rifle: Rise of the AR-15, Hartford Courant

        (Mar. 9, 2013), https://bit.ly/2NFDxuD; see also Duncan v. Becerra, 366 F. Supp.

        3d 1131, 1145 (S.D. Cal. 2019).

              Today, the number of AR-rifles and other modern sporting rifles in circulation

        in the United States approaches twenty million. NSSF, Industry Intelligence

        Reports: Firearm Production in the United States 7 (2020), https://bit.ly/3blGybB.

        As one contrast, apparently ubiquitous public e-scooters numbered only 85,000 and

        were available in only 100 U.S. cities, as of 2018. Shared Micromobility in the U.S.:

        2018, Nat’l Ass’n of City Transp. Offs., https://bit.ly/3dHb2rF (last visited Apr. 13,

        2021). According to industry sources, as of 2018, roughly thirty-five percent of all

        newly manufactured guns sold in America are modern sporting rifles, Bloomberg,

        Why Gunmakers Would Rather Sell AR-15s Than Handguns, Fortune (June 20,

        2018), https://bit.ly/2OJC72H, and an estimated five million Americans purchased


                                                  21
USCA4 Appeal: 21-1255     Doc: 18       Filed: 04/19/2021    Pg: 46 of 83




        firearms for the first time in 2020, First-Time Gun Buyers Grow to Nearly 5 Million

        in 2020, NSSF (Aug. 24, 2020), https://bit.ly/37xFH6F. Thus, millions more

        Americans likely own AR-style rifles now than did in 2013, when “nearly 5,000,000

        people owned at least one semiautomatic assault weapon.” Worman v. Healey, 922

        F.3d 26, 35 (1st Cir. 2019). Even if ownership had not increased, so-called assault

        weapons would be more common than either professional or doctoral degrees. 4

              AR-style rifles are commonly and overwhelmingly possessed by law-abiding

        citizens for lawful purposes. In a 2013 survey of 21,942 confirmed owners of such

        firearms, home-defense followed (closely) only recreational target shooting as the

        most important reason for owning these firearms. Amicus Curiae Br. of the Nat’l

        Shooting Sports Found. in Supp. of Pet’rs, Friedman v. City of Highland Park, No.

        15-133, 2015 WL 5139321, at *13; see also Friedman v. City of Highland Park, 68

        F. Supp. 3d 895, 904 (N.D. Ill. 2014), aff’d sub nom. Friedman v. City of Highland

        Park, 784 F.3d 406 (7th Cir. 2015). Both purposes are plainly lawful (and also

        related, as “maintain[ing] proficiency in firearm use [is] an important corollary to

        . . . self-defense,” Ezell, 651 F.3d at 708). “An additional survey estimated that

        approximately 11,977,000 people participated in target shooting with a modern



        4
          As of 2019, only 4,557,000 noninstitutionalized civilians had doctoral degrees, and
        still fewer—3,150,000—had professional degrees. Educational Attainment in the
        United States: 2019, U.S. Census Bureau tbl. 1 (Mar. 30, 2020),
        https://bit.ly/3qBy077.
                                                 22
USCA4 Appeal: 21-1255        Doc: 18        Filed: 04/19/2021    Pg: 47 of 83




        sporting rifle,” Friedman, 68 F. Supp. 3d at 904, and indeed the “AR-15 type rifle

        . . . is the leading type of firearm used in national matches and in other matches

        sponsored by the congressionally established Civilian Marksmanship program.”

        Shew v. Malloy, 994 F.Supp. 2d 234, 245 n.40 (D. Conn. 2014). Overall, AR-style

        rifles

                 are popular with civilians and law enforcement around the world
                 because they’re accurate, light, portable, and modular. . . . [The AR-
                 style rifle is] also easy to shoot and has little recoil, making it popular
                 with women. The AR-15 is so user-friendly that a group called
                 ‘Disabled Americans for Firearms Rights’ . . . says the AR-15 makes it
                 possible for people who can’t handle a bolt-action or other rifle type to
                 shoot and protect themselves.

        Miniter, supra, at 35.

                 The fact that “assault” rifles are used extremely rarely in crime underscores

        that AR-15s and other banned rifles are commonly possessed by law-abiding citizens

        for lawful purposes. Evidence indicates that “well under 1% [of crime guns] are

        ‘assault rifles.’ ” Gary Kleck, Targeting Guns: Firearms and their Control 112

        (1997). In 2019, only 364 out of 13,927 murders were committed with any type of

        rifle. Expanded Homicide Data Table 8: Murder Victims by Weapon, 2015–2019,

        Crime in the United States, 2019, FBI, U.S. Dep’t of Just., https://bit.ly/31WmQ1V

        (last visited Apr. 13, 2021). Murder by “hands, fists, feet, etc.” was almost twice as

        common. Id. Even in the counterfactual event that a different modern sporting rifle

        had been involved in each rifle-related murder, an infinitesimal percentage of the


                                                     23
USCA4 Appeal: 21-1255     Doc: 18         Filed: 04/19/2021    Pg: 48 of 83




        19.8 million modern sporting rifles in circulation in the United States by 2018

        (NSSF, supra, at 7)—around .002 percent—would have been used for that unlawful

        purpose. More broadly, as of 2016, only .8 percent of state and federal prisoners

        reported using any kind of rifle during the offense for which they were serving time.

        Mariel Alper, Ph.D., and Lauren Glaze, Source and Uses of Firearms Involved in

        Crimes: Survey of Prison Inmates, 2016, U.S. Dep’t of Just., Off. of Just. Progs.,

        Bureau of Just. Stats. 5 tbl. 3 (Jan. 2019), https://bit.ly/31VjRa9.

              Finally, the Supreme Court’s decision in Caetano further confirms that the

        arms banned by Maryland are in common use. That case concerned Massachusetts’s

        ban on the possession of stun guns, which the Commonwealth’s highest court had

        upheld on the basis that such weapons are not protected by the Second Amendment.

        577 U.S. at 411. With a brief per curiam opinion, the Supreme Court vacated that

        decision. Id. at 411–12. Though the Court remanded the case back to the state court

        without deciding whether stun guns are constitutionally protected, see id., Justice

        Alito filed a concurring opinion expressly concluding that those arms “are widely

        owned and accepted as a legitimate means of self-defense across the country,” based

        on evidence that “hundreds of thousands of Tasers and stun guns have been sold to

        private citizens.” Id. at 420 (Alito, J., concurring) (cleaned up) (citation omitted). Of

        course, that is far fewer than the millions of semiautomatic rifles sold to private

        citizens nationwide that Maryland bans.


                                                   24
USCA4 Appeal: 21-1255      Doc: 18        Filed: 04/19/2021   Pg: 49 of 83




        III.    A Ban on Protected Arms Is Flatly Unconstitutional.

                A.    Heller’s Test Is Clear and Categorical.

                Given that the Second Amendment extends to the arms that Maryland bans,

        Heller makes the next analytical steps clear. The text of the Second Amendment

        provides that “the right of the people to keep and bear Arms, shall not be infringed.”

        U.S. Const. amend. II (emphasis added). In this light, in Heller, the Supreme Court

        held that the Second Amendment “elevates above all other interests the right of law-

        abiding, responsible citizens to use arms in defense of hearth and home.” 554 U.S.

        at 634–35 (emphases added). Thus, all that needs to be done to resolve a challenge

        to a flat ban on possession of certain rifles is to determine whether they are “Arms”

        protected by the Second Amendment. Any further evaluation of allegedly competing

        public-policy considerations is foreclosed by the constitutional text. That text is the

        “very product of an interest balancing by the people,” and “[t]he very enumeration

        of the right [to keep and bear arms] takes out of the hands of government . . . the

        power to decide on a case-by-case basis whether the right is really worth insisting

        upon.” Id.

                McDonald confirms this understanding of Heller. There, the Court explained

        that,

                in Heller, we held that individual self-defense is the central component
                of the Second Amendment right. Explaining that the need for defense
                of self, family, and property is most acute in the home, we found that
                this right applies to handguns because they are the most preferred
                                                  25
USCA4 Appeal: 21-1255    Doc: 18       Filed: 04/19/2021   Pg: 50 of 83




              firearm in the nation to keep and use for protection of one’s home and
              family. Thus, we concluded, citizens must be permitted to use handguns
              for the core lawful purpose of self-defense.
        561 U.S. at 767–68 (cleaned up). In short, because the Court found that the Second

        Amendment “applies to handguns,” it concluded that “citizens must be permitted to

        use” them. Id. (emphases added).

              Then in Caetano, the Court summarily and unanimously reversed a decision

        of the Massachusetts Supreme Judicial Court that had departed from this approach

        in upholding a ban on stun guns. 577 U.S. at 411–12. The Massachusetts court got

        the message: “Having received guidance from the Supreme Court in Caetano II, we

        now conclude that stun guns are ‘arms’ within the protection of the Second

        Amendment. Therefore, under the Second Amendment, the possession of stun guns

        may be regulated, but not absolutely banned.” Ramirez v. Commonwealth, 94 N.E.3d

        809, 815 (Mass. 2018). Soon thereafter, the Illinois Supreme Court ruled likewise,

        holding that, because “stun guns and tasers are bearable arms that fall within the

        scope of the second amendment,” a ban on such weapons “necessarily cannot stand.”

        People v. Webb, 131 N.E.3d 93, 97–98 (Ill. 2019). So too here, because the Second

        Amendment applies to the semiautomatic rifles at issue in this case, Maryland’s

        provision categorically banning those arms necessarily cannot stand.




                                                26
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021   Pg: 51 of 83




              B.     Means-End Scrutiny May Be Limited.

              Instead of Heller’s history-and-tradition approach, however, Kolbe in its

        alternative analysis applied means-end scrutiny, citing its earlier decision in United

        States v. Chester, 628 F.3d 673 (4th Cir. 2010). Chester, however, involved a

        challenge to the federal ban on domestic-violence offenders possessing firearms, not

        a ban on law-abiding citizens owning some of the most popular firearms in the

        nation. This should have made a difference. For example, the Seventh Circuit,

        despite typically applying a levels-of-scrutiny inquiry to Second Amendment

        claims, has recognized that certain laws are so antithetical to the Second Amendment

        that they are “categorically unconstitutional.” Ezell, 651 F.3d at 703. Thus, it has

        held that the State of Illinois’s “flat ban on carrying ready-to-use guns outside the

        home” was flatly unconstitutional. Moore v. Madigan, 702 F.3d 933, 940 (7th Cir.

        2012). The D.C. Circuit similarly struck down categorically a District law that had

        the effect of banning typical citizens from carrying firearms in public under “Heller

        I’s categorical approach . . . even though [the court’s] previous cases ha[d] always

        applied tiers of scrutiny to gun laws.” Wrenn v. District of Columbia, 864 F.3d 650,

        666 (D.C. Cir. 2017). As Heller demonstrates, a law banning possession of protected

        arms is the paradigmatic example of a law entirely inconsistent with the Second

        Amendment, and such laws are flatly unconstitutional regardless of whether a

        means-ends scrutiny test is applied to less burdensome laws.


                                                 27
USCA4 Appeal: 21-1255      Doc: 18        Filed: 04/19/2021   Pg: 52 of 83




        IV.   Maryland’s Ban Fails Any Potentially Applicable Standard of Scrutiny.

              A.     Strict Scrutiny Is Applicable.

              Even if Maryland’s Semiautomatic Rifle Ban were not categorically

        unconstitutional, it should at the least be subjected to the highest level of

        constitutional scrutiny. As the Supreme Court has explained, “strict judicial scrutiny

        [is] required” whenever a law “impinges upon a fundamental right explicitly or

        implicitly protected by the Constitution.” San Antonio Indep. Sch. Dist. v. Rodriguez,

        411 U.S. 1, 17 (1973). And the right to bear arms is not only enumerated in the

        constitutional text; it was also counted “among those fundamental rights necessary

        to our system of ordered liberty” by “those who drafted and ratified the Bill of

        Rights.” McDonald, 561 U.S. at 768, 778. Kolbe’s application of merely

        intermediate scrutiny, by contrast, relegates the Second Amendment to “a second-

        class right.” Id. at 780 (plurality opinion).

              Kolbe attempted to justify its milquetoast approach by pointing out that

        Maryland does not ban all firearms and by denying that so-called “assault weapons”

        constitute a class of firearms comparable to the class of handguns protected in

        Heller. 849 F.3d at 138. The Kolbe court had no authority, however, for the notion

        that only an absolute or near-absolute ban of all firearms triggers strict scrutiny, a

        rule that is unimaginable in other constitutional contexts. See, e.g., Church of the

        Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 546 (1993) (applying


                                                   28
USCA4 Appeal: 21-1255     Doc: 18         Filed: 04/19/2021    Pg: 53 of 83




        strict scrutiny although plaintiff remained free to perform many religious practices);

        Brown v. Ent. Merch. Ass’n, 564 U.S. 786, 798 (2011) (applying strict scrutiny

        although plaintiff remained free to engage in almost all speech).

              Certainly, nothing in Heller suggests such an approach. There, the Supreme

        Court applied a test stricter than strict scrutiny to a possession ban on handguns even

        in the absence of a similar ban on long guns. See Heller, 554 U.S. at 629, 635. And

        Heller in no way intimated that the result would have been different had the District

        banned, not all handguns, but only a subset that included the most popular and

        reliable models. Again, “[i]t is no answer to say . . . that it is permissible to ban the

        possession of handguns so long as the possession of other firearms (i.e., long guns)

        is allowed.” Id. at 629. As the D.C. Circuit decision affirmed by Heller put it, the

        District’s attempt to justify its handgun ban on the grounds that “ ‘residents still have

        access to hundreds more’ ” types of firearm was “frivolous.” Parker v. District of

        Columbia, 478 F.3d 370, 400 (D.C. Cir. 2007); see also Duncan, 970 F.3d at 1156.

        Thus, “restating the Second Amendment right in terms of what IS LEFT after the

        regulation rather than what EXISTED historically, as a means of lowering the level

        of scrutiny, is exactly backward from Heller’s reasoning.” Nat’l Rifle Ass’n of Am.,

        Inc. v. BATFE, 714 F.3d 334, 345 (5th Cir. 2013) (Jones, J., dissenting from denial

        of reh’g en banc) (emphasis in original); accord Duncan, 366 F. Supp. 3d at 1157.




                                                   29
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021     Pg: 54 of 83




              Courts do not always apply intermediate scrutiny in Second Amendment

        cases. As explained above, the Seventh Circuit struck down restrictions on carrying

        firearms in public as categorically inconsistent with the Second Amendment. Moore,

        702 F.3d at 940. The Illinois Supreme Court did the same. People v. Aguilar,

        2 N.E.3d 321, 327–28 (Ill. 2013). And the Seventh Circuit applied a standard “more

        rigorous” than intermediate scrutiny “if not quite ‘strict scrutiny’ ” to order

        Chicago’s ban on shooting ranges preliminarily enjoined. Ezell, 651 F.3d at 708.5

        This is noteworthy because the Seventh Circuits has applied intermediate scrutiny

        to other Second Amendment challenges. United States v. Skoien, 614 F.3d 638, 641–

        42 (7th Cir. 2010). The Kolbe court, at a minimum, should have applied strict

        scrutiny.

              B.      The Ban Withstands No Form of Heightened Scrutiny.

              At any rate, Maryland’s Semiautomatic Rifle Ban fails even under

        intermediate scrutiny.

              1.     That is so, first, as a matter of law. By design, the Ban is intended to

        reduce firearm violence by reducing the types of firearms available to the public.

        See Kolbe, 849 F.3d at 140 (“[T]he primary goal of the FSA ‘is to reduce the

        availability of assault long guns . . . .’ ”). That is “not a permissible strategy”—even



              5
                The Ninth Circuit panel decision in Duncan applied strict scrutiny to a ban
        on a subset of “Arms”—only some, not all, magazines. Duncan, 970 F.3d at 1152.
                                                  30
USCA4 Appeal: 21-1255     Doc: 18         Filed: 04/19/2021    Pg: 55 of 83




        if used as a means to the further end of increasing public safety. Grace v. District of

        Columbia, 187 F. Supp. 3d 124, 148 (D.D.C. 2016), aff’d sub nom. Wrenn v. District

        of Columbia, 864 F.3d 650 (D.C. Cir. 2017). That conclusion follows directly from

        the Supreme Court’s precedents in the secondary-effects area of free-speech

        doctrine.

              The Supreme Court has held that governmental restrictions on certain types

        of expressive conduct—most commonly, zoning ordinances that apply specifically

        to establishments offering adult entertainment—are subject to merely intermediate

        scrutiny even though they are content-based. City of Renton v. Playtime Theatres,

        Inc., 475 U.S. 41, 47–51 (1986). But this lesser scrutiny still permits only restrictions

        whose purpose and effect is to reduce the negative “secondary effects” of the

        expression—such as the increased crime that occurs in neighborhoods with a high

        concentration of adult theaters. Suppressing the expression itself is impermissible.

        Id. at 49. As Justice Kennedy’s controlling opinion in City of Los Angeles v. Alameda

        Books, Inc., 535 U.S. 425 (2002), makes clear, in defending a restriction as narrowly

        tailored to further an important or substantial governmental interest, the government

        must not rely on the proposition “that it will reduce secondary effects by reducing

        speech in the same proportion.” Id. at 449. “It is no trick to reduce secondary effects

        by reducing speech or its audience; but [the government] may not attack secondary

        effects indirectly by attacking speech.” Id. at 450; see also Heller v. District of


                                                   31
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021     Pg: 56 of 83




        Columbia (Heller III), 801 F.3d 264, 280 (D.C. Cir. 2015); Grace, 187 F. Supp. 3d

        at 148.

              But that is precisely what Maryland has done here. Its Semiautomatic Rifle

        Ban does not regulate the manner of bearing arms or impose reasonable training and

        safety requirements. No, the Ban’s purpose and effect is to restrict the types of

        firearms available to the public. Prohibitions such as the Ban thus “destroy[ ] the

        ordinarily situated citizen’s right to bear arms not as a side effect of applying other,

        reasonable regulations . . . but by design.” Wrenn, 864 F.3d at 666. That is “not a

        permissible strategy,” Grace, 187 F. Supp. 3d at 148, under any level of heightened

        scrutiny.

              2.     Even if the purpose and effect of Maryland’s Semiautomatic Rifle Ban

        were not intrinsically unconstitutional, Maryland’s ban would still fail constitutional

        muster because it is not sufficiently tailored to the government’s asserted goals—in

        two separate ways. To survive intermediate scrutiny, first, the State must have

        considered alternatives to the course it adopted. McCullen v. Coakley, 573 U.S. 464,

        494–95 (2014); accord Bruni v. City of Pittsburgh, 824 F.3d 353, 367–68 (3d Cir.

        2016). “In other words, the government is obliged to demonstrate that it actually

        tried or considered less-[arms-bearing]-restrictive alternatives and that such

        alternatives were inadequate to serve the government’s interest.” Billups v. City of

        Charleston, 961 F.3d 673, 688 (4th Cir. 2020). Second, there must be “a close fit


                                                  32
USCA4 Appeal: 21-1255      Doc: 18        Filed: 04/19/2021   Pg: 57 of 83




        between ends and means,” McCullen, 573 U.S. at 486; accord Bruni, 824 F.3d at

        365. That is, the government “must prove that the law in dispute does not ‘regulate

        [bearing arms] in such a manner that a substantial portion of the burden on [arms-

        bearing] does not serve to advance its goals,” Billups, 961 F.3d at 688 n.9 (quoting

        Ward v. Rock Against Racism, 491 U.S. 781, 799 (1989)). Maryland’s law is not

        sufficiently tailored in either sense.

              The Ban fails the first McCullen requirement because nothing on the face of

        the statutes establishing Maryland’s Semiautomatic Rifle Ban suggests that

        Maryland considered less restrictive alternatives. See Firearm Safety Act of 2013,

        2013 Md. Laws Ch. 427 (S.B. 281); Criminal Procedure – Firearms – Transfer, 2018

        Md. Laws Ch. 251 (H.B. 1646). To “justify its choice to adopt the [Semiautomatic

        Rifle Ban],” Maryland “would have to show either that substantially less-restrictive

        alternatives were tried and failed, or that the alternatives were closely examined and

        ruled out for good reason.” See Bruni, 824 F.3d at 370. These statutes do not even

        generally “say that other approaches have not worked,” which in any event is “not

        enough” to overcome “the vital [Second] Amendment interests at stake.” See

        McCullen, 573 U.S. at 496. Under the Second Amendment, Maryland

        unconstitutionally chose to “forego a range of alternatives—which would burden

        substantially less [arms-bearing] than a blanket prohibition on Plaintiffs’ [possession

        of common arms]—without a meaningful record demonstrating that those options


                                                  33
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021    Pg: 58 of 83




        would fail to alleviate the problems meant to be addressed.” See Bruni, 824 F.3d at

        371.

               Maryland’s Semiautomatic Rifle Ban separately fails the second McCullen

        requirement because it lacks a close fit between ends and means. One end that Kolbe

        identifies is “to reduce the availability of assault long guns . . . so that when a

        criminal acts, he does so with a less dangerous weapon and less severe

        consequences.” Kolbe, 849 F.3d at 140. Of course, the purpose of reducing the

        availability of “Arms” fails intermediate scrutiny for violating secondary-effects

        doctrine, as discussed above. But its fit is faulty, too, because, as also discussed

        above, there is no reason to think “assault” rifles more dangerous than other rifles.

               According to Kolbe, though, “[a]nother objective [of the Firearm Safety Act]

        is to prevent the unintentional misuse of assault weapons . . . by otherwise law-

        abiding citizens.” Id. But there is a plain disconnect between the end of preventing

        unintentional misuse of something and the means of banning that thing altogether.

        All the worse is the fit between a ban and the end of supporting law-abiding citizens,

        who cannot be presumed to be irresponsible. Accordingly, when the Federal

        Government sought to ban certain speech in advertisements for fear that such speech

        would induce the general population to unintentionally misuse the product

        advertised, the Supreme Court invalidated that ban under intermediate scrutiny.

        Thompson v. W. States Med. Ctr., 535 U.S. 357, 374 (2002). By the same principle,


                                                 34
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021    Pg: 59 of 83




        Maryland’s so-called “assault” rifles ban does not reasonably fit prevention of

        unintentional misuse of the arms it targets.

              That leaves only the broadest end that Kolbe identified: “the protection of its

        citizenry and the public safety.” 849 F.3d at 139. Of course, the District of Columbia

        identified the same end for the handgun ban reviewed in Heller. Yet, the Supreme

        Court held that the ban would fail “any of the standards of scrutiny [the Court has]

        applied to enumerated constitutional rights,” Heller, 554 U.S. at 628—including

        intermediate scrutiny—even though handguns are “the overwhelmingly favorite

        weapon of armed criminals,” id. at 682 (Breyer, J., dissenting).

              Nor does Kolbe court’s mention of mass shootings, 849 F.3d at 140, change

        anything. Justice Breyer argued in dissent that the District’s handgun ban was

        “tailored to the urban crime problem in that it is local in scope and thus affects only

        a geographic area both limited in size and entirely urban.” Heller, 554 U.S. at 682

        (Breyer, J., dissenting). While this was not enough to save the District’s ban, the fit

        between the problem of mass shootings and Maryland’s ban on certain

        semiautomatic rifles is not even that tight. Mass shootings, of course, generally occur

        in public. Yet, Maryland bans semiautomatic “assault” rifles even in the home. This

        alone demonstrates that Maryland’s “complete ban” cannot be justified, for “each

        activity within the proscription’s scope [must be] an appropriately targeted evil.”




                                                  35
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021   Pg: 60 of 83




        Ward, 491 U.S. at 800. The problem of violence that takes place in public is not

        remedied by targeting possession of arms in the home.

              Moreover, mass shootings are “particularly rare events.” Christopher S.

        Koper, America’s Experience with the Federal Assault Weapons Ban, 1994–2004,

        in Reducing Gun Violence In America: Informing Policy with Evidence and

        Analysis 166 (Daniel W. Webster & Jon S. Vernick eds., 2013). Indeed,

        “[a]ccording to a Bureau of Justice statistics review, homicides that claimed at least

        three lives accounted for less than 1% of all homicide deaths from 1980 to 2008.”

        D’Vera Cohn et al., Gun Homicide Rate Down 49% Since 1993 Peak; Public

        Unaware, Pew Rsch. Ctr. 4 (May 7, 2013), https://pewrsr.ch/3qwE94l. At present,

        “[e]ven unintentional shootings (about 1 percent of the total) outnumber mass

        shootings.” Dan Gross, I Helped Lead the Gun Control Movement. It’s Asking the

        Wrong Questions. N.Y. Times (Apr. 8, 2021), https://nyti.ms/3uLsznE.

        Accordingly, despite the horrors of recent mass shootings, the truth is that “[m]ass

        shootings have not increased in number or in overall death toll, at least not over the

        past several decades.” James Alan Fox & Monica DeLateur, Mass Shootings in

        America: Moving Beyond Newtown, 18 Homicide Studies 125, 128 (2013). The

        only thing that “has increased with regard to mass murder . . . is the public’s fear,

        anxiety, and widely held belief that the problem is getting worse.” Id. at 130.




                                                 36
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021   Pg: 61 of 83




              In any event, so-called “assault weapons” bans would not prevent mass

        shootings. Fox and DeLateur conclude that the notion that “restoring the federal

        ban on assault weapons will prevent these horrible crimes” is a “myth.” Id. at 136.

        “[A] comparison of the incidence of mass shootings during the 10-year window

        when the assault weapon ban was in force against the time periods before

        implementation and after expiration shows that the legislation had virtually no

        effect” on mass shootings. Id. The problem is that the “overwhelming majority of

        mass murderers use firearms that would not be restricted by an assault weapons

        ban.” Id. To start, in mass shootings, “semiautomatic handguns are far more

        prevalent . . . than firearms that would typically be classified as assault weapons.”

        Id.; accord Daniel W. Webster et al., Evidence Concerning the Regulation of

        Firearms Design, Sale, and Carrying on Fatal Mass Shootings in the United States,

        19 Crim’y & Pub. Pol’y 171, 188 (2020) (“[M]ost mass shootings do not involve

        assault rifles.”). Indeed, during the period of the federal ban, “only one quarter of

        . . . mass murderers killed with an assault weapon; they easily could have identified

        an alternate means of mass casualty if that were necessary.” Fox & DeLateur,

        supra, at 136. And from 2009 to 2016, only ten percent of mass shootings with four

        or more victim fatalities “involved firearm models classified as assault weapons.”

        Webster et al., supra, at 188.




                                                 37
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021   Pg: 62 of 83




              It is no surprise, then, that the State’s own expert in Kolbe, Professor Daniel

        Webster, has since conceded that bans of so-called assault weapons “do not seem

        to be associated with the incidence of fatal mass shootings,” Webster et al., supra,

        at 187. Similarly telling, the then-president of the Brady Center, a principal amicus

        in support of the outcome in Kolbe, Dan Gross, has recently recognized that “most

        mass shootings, like most gun fatalities in this country, are committed with

        handguns”—and insisted that “[t]here are far more effective means to prevent these

        sadly routine tragedies than by focusing on assault weapons.” Gross, I Helped Lead

        the Gun Control Movement. It’s Asking the Wrong Questions, supra.

              More broadly, there is simply no empirical evidence for the proposition that

        semiautomatic “assault” rifle bans advance public safety. Research on the now-

        expired federal statute banning “assault weapons” reveals that such legislation has

        no discernible impact on firearms violence. The Justice Department’s own study

        found that

              we cannot clearly credit the ban with any of the nation’s recent drop in
              gun violence. And, indeed, there has been no discernible reduction in
              the lethality and injuriousness of gun violence, based on indicators like
              the percentage of gun crimes resulting in death or the share of gunfire
              incidents resulting in injury, as we might have expected had the ban
              reduced crimes with [‘assault weapons’] . . . .

        Christopher S. Koper et al., An Updated Assessment of the Federal Assault Weapons

        Ban: Impacts on Gun Markets and Gun Violence, 1994-2003, Rep. to the Nat’l Inst.

        of Just., U.S. Dep’t of Just. 96 (June 2004).

                                                  38
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021   Pg: 63 of 83




              The report concluded that, “[s]hould it be renewed, the ban’s effects on gun

        violence are likely to be small at best and perhaps too small for reliable

        measurement.” Id. at 3. The insurmountable problem is that criminals denied banned

        semiautomatic rifles will simply substitute other firearms: “Because offenders can

        substitute non-banned guns . . . for banned [arms], there is not a clear rationale for

        expecting the ban to reduce assaults and robberies with guns.” 6

              In a follow-up essay in 2013, the principal author of the Justice Department

        studies, Professor Koper, reiterated that, “[b]ecause offenders could substitute non-

        banned guns . . . , there was not a clear rationale for expecting the ban to reduce

        assaults and robberies with guns.” America’s Experience, supra, at 165. Although

        he noted that some stories by media journalists suggested that the federal ban “may

        have modestly reduced gunshot victimizations had it remained in place for a longer

        period,” id. at 170, 158; see also id. at 164–65, Koper concluded that “analyses


              6
                Id. at 81 & n.95. These conclusions are consistent with the first study of the
        federal ban (done in 1997), which recognized that “[a]ny effort to estimate how the
        ban affected the gun murder rate must confront a fundamental problem, that the
        maximum achievable preventive effect of the ban is almost certainly too small to
        detect statistically.” Jeffrey A. Roth & Christopher S. Koper, Impact Evaluation of
        the Public Safety and Recreational Firearms Use Protection Act of 1994 (Final
        Report) 79 (Mar. 13, 1997), https://urbn.is/3u91ACW. “[T]he evidence is not strong
        enough for us to conclude that there was any meaningful effect (i.e., that the effect
        was different from zero.).” Id. at 6. Specifically, the research “found no statistical
        evidence of post-ban decreases in either the number of victims per gun homicide
        incident, the number of gunshot wounds per victim, or the proportion of gunshot
        victims with multiple wounds. Nor did we find assault weapons to be
        overrepresented in a sample of mass murders involving guns.” Id.
                                                 39
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021   Pg: 64 of 83




        showed no discernible reduction in the lethality or injuriousness of gun violence

        during the post-ban years.” Id. at 165.

              The failure of the federal ban to have any discernible effect on gun violence

        has been confirmed by two well-respected entities—the National Research Council

        and the Task Force on Community Preventative Services—that conducted

        comprehensive reviews of all the published literature on firearms violence. The NRC

        and Task Force both found that there is insufficient evidence to conclude that bans

        on “assault weapons” or other particular firearms or firearm features have had any

        beneficial effect on gun violence.7

              And Maryland’s law necessarily will be less effective than the federal ban in

        curtailing criminal access to “assault weapons,” for the banned items continue to

        be legal in the vast majority of States, which do not have laws similar to

        Maryland’s. As Professor Koper has acknowledged, “the impact of [state ‘assault



              7
                 See National Research Council, Firearms and Violence: A Critical Review
        97 (Charles F. Wellford et al. eds., 2005) (“[G]iven the nature of the [1994 assault
        weapons ban], the maximum potential effect of the ban on gun violence outcomes
        would be very small and, if there were any observable effects, very difficult to
        disentangle from chance yearly variation and other state and local gun violence
        initiatives that took place simultaneously.”); Task Force on Community Preventive
        Services, Recommendations To Reduce Violence Through Early Childhood Home
        Visitation, Therapeutic Foster Care, and Firearms Laws, 28 Am. J. Prev. Med. 6, 7
        (2005) (With respect to “bans on specified firearms or ammunition,” the Task Force
        found that “[e]vidence was insufficient to determine the effectiveness of [bans, for]
        the prevention of violence.”); see also Robert A. Hahn et al., Firearms Laws and the
        Reduction of Violence: A Systematic Review, 28 Am. J. Prev. Med. 40, 49 (2005).
                                                  40
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021    Pg: 65 of 83




        weapons’] laws is likely undermined to some degree by the influx of [‘assault

        weapons’] from other states . . . .” Updated Assessment, supra, at 81 n.95.

              Furthermore, it is highly unlikely that prohibitions on certain firearms will

        deter any violent criminal from using one. See, e.g., James D. Wright & Peter H.

        Rossi, Armed & Considered Dangerous 210 (2d ed. 2017) (although 73 percent of

        convicted felons in study knew acquiring a firearm would be illegal, “most of them

        did not anticipate much trouble in acquiring a handgun once released from prison,”

        and 82 percent agreed that “gun laws affect only law-abiding citizens”); Anthony

        J. Pinizzotto et al., Violent Encounters 50 (U.S. Dep’t of Just. 2006) (97 percent of

        handguns used to assault law enforcement officers participating in study were

        acquired illegally). This means that Maryland’s ban impairs public safety to the

        extent it deprives law-abiding citizens of accuracy-enhancing features that

        criminals continue to employ.

              Far from ordaining this result, the ratifiers of the Second Amendment would

        have rejected it. As evidenced by Thomas Jefferson’s quotation book, the Founding

        generation was influenced by Italian penal reformer and criminologist Cesare

        Beccaria, who reasoned that laws forbidding the

              wear[ing] [of] arms . . . disarm[ ] those only who are not disposed to
              commit the crime which the laws mean to prevent. Can it be supposed,
              that those who have the courage to violate the most sacred laws of
              humanity, and the most important of the code, will respect the less
              considerable and arbitrary injunctions, the violation of which is so easy,
              and of so little comparative importance? . . . [Such a law] certainly
                                                 41
USCA4 Appeal: 21-1255       Doc: 18      Filed: 04/19/2021     Pg: 66 of 83




              makes the situation of the assaulted worse, and of the assailants better,
              and rather encourages than prevents murder.

        See Stephen P. Halbrook, What the Framers Intended: A Linguistic Analysis of the

        Right To “Bear Arms,” 49 L. & Contemp. Probs. 151, 153–54 (1986).

              The impact of such disarmament would be severe, as defensive gun uses “are

        about three to five times as common as criminal uses, even using generous estimates

        of gun crimes.” Gary Kleck & Mark Gertz, Armed Resistance to Crime: The

        Prevalence and Nature of Self-Defense with a Gun, 86 J. Crim. L. & Crim’y 150,

        170 (1995), https://bit.ly/2Zv7lgj. As explained above, there are valid reasons why

        law-abiding citizens may prefer to possess rifles banned by Maryland for self-

        defense, and millions of Americans have indeed chosen to possess them. Under

        Heller, it must be the choices of these law-abiding citizens, not speculation about

        the effects of a ban on a small subset of gun crimes, that govern. Maryland “ha[s] to

        provide . . . more than merely a rational basis for believing that its uniquely sweeping

        ban is justified by an increase in public safety.” Moore, 702 F.3d at 942. Because it

        cannot meet this burden, its ban must be invalidated, even under intermediate

        scrutiny. See id.

                                           CONCLUSION

              For the foregoing reasons, Maryland’s ban on “assault weapons” violates the

        Second Amendment. Although Kolbe forecloses a panel of this Court from granting

        relief, Kolbe should be overturned by a court competent to do so.

                                                  42
USCA4 Appeal: 21-1255    Doc: 18      Filed: 04/19/2021   Pg: 67 of 83




        Dated: April 19, 2020                   Respectfully submitted,

         Raymond M. DiGuiseppe                  /s/ David H. Thompson
         law.rmd@gmail.com                      David H. Thompson
         The DiGuiseppe Law Firm, P.C.          Peter A. Patterson
         4320 Southport-Supply Road, Suite      Tiernan B. Kane
         300 Southport, North Carolina 28461    COOPER & KIRK, PLLC
         Phone: 910-713-8804                    1523 New Hampshire Avenue, N.W.
         Fax: 910-672-7705                      Washington, D.C. 20036
                                                (202) 220-9600 / (202) 220-9601
         Adam Kraut, Esq.                       dthompson@cooperkirk.com
         Firearms Policy Coalition
         1215 K Street, 17th Floor
         Sacramento, CA 95814
         P: (916) 476-2342                      Counsel for Plaintiffs-Appellants
         F: (215) 525-4437
         akraut@fpclaw.org




                                               43
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021   Pg: 68 of 83




                              CERTIFICATE OF COMPLIANCE

              I hereby certify that the foregoing Plaintiffs-Appellants’ Opening Brief

        complies with the requirements of Federal Rule of Appellate Procedure 32(a). The

        brief is prepared in 14-point Times New Roman font, a proportionally spaced

        typeface; it is double-spaced; and it contains 10,339 words (exclusive of items listed

        in Rule 32(f)), as measured by Microsoft Word.


                                                      /s/ David H. Thompson
                                                      David H. Thompson

                                                      Counsel for Plaintiffs-Appellants




                                                 44
USCA4 Appeal: 21-1255   Doc: 18   Filed: 04/19/2021   Pg: 69 of 83




                        STATUTORY ADDENDUM
USCA4 Appeal: 21-1255            Doc: 18              Filed: 04/19/2021            Pg: 70 of 83




                                                TABLE OF CONTENTS


                                                                                                                         Page

        U.S. Const. amend. II ...................................................................................... Add 1
        18 U.S.C.
            § 921(a)(20) ............................................................................................. Add 12
            § 922(g)(1) ............................................................................................... Add 12
        Md. Code Ann., Crim. Law
            § 4-301....................................................................................................... Add 1
            § 4-302....................................................................................................... Add 6
            § 4-303 ....................................................................................................... Add 7
            § 4-304 ....................................................................................................... Add 9
            § 4-306 ....................................................................................................... Add 9
        Md. Code Ann., Pub. Safety
            § 5-101(g) ................................................................................................ Add 10
            § 5-101(r) ................................................................................................... Add 3
            § 5-133..................................................................................................... Add 10
            § 5-133.3(a) ............................................................................................. Add 11
            § 5-133.3(b)(1)......................................................................................... Add 11
            § 5-205..................................................................................................... Add 11
USCA4 Appeal: 21-1255    Doc: 18        Filed: 04/19/2021     Pg: 71 of 83




        U.S. Const. amend. II.

              A well regulated Militia, being necessary to the security of a free State, the
              right of the people to keep and bear Arms, shall not be infringed.



        Md. Code Ann., Crim. Law § 4-301. Definitions

                                               In general

              (a) In this subtitle the following words have the meanings indicated.

                                            Assault long gun

              (b) “Assault long gun” means any assault weapon listed under § 5-101(r)(2)
              of the Public Safety Article.

                                             Assault pistol

              (c) “Assault pistol” means any of the following firearms or a copy regardless
              of the producer or manufacturer:

                    (1) AA Arms AP-9 semiautomatic pistol;

                    (2) Bushmaster semiautomatic pistol;

                    (3) Claridge HI-TEC semiautomatic pistol;

                    (4) D Max Industries semiautomatic pistol;

                    (5) Encom MK-IV, MP-9, or MP-45 semiautomatic pistol;

                    (6) Heckler and Koch semiautomatic SP-89 pistol;

                    (7) Holmes MP-83 semiautomatic pistol;

                    (8) Ingram MAC 10/11 semiautomatic pistol and variations including
                    the Partisan Avenger and the SWD Cobray;

                    (9) Intratec TEC-9/DC-9 semiautomatic pistol in any centerfire
                    variation;


                                              Add 1
USCA4 Appeal: 21-1255    Doc: 18         Filed: 04/19/2021    Pg: 72 of 83




                    (10) P.A.W.S. type semiautomatic pistol;

                    (11) Skorpion semiautomatic pistol;

                    (12) Spectre double action semiautomatic pistol (Sile, F.I.E., Mitchell);

                    (13) UZI semiautomatic pistol;

                    (14) Weaver Arms semiautomatic Nighthawk pistol; or

                    (15) Wilkinson semiautomatic “Linda” pistol.

                                                Assault weapon

              (d) “Assault weapon” means:

                    (1) an assault long gun;

                    (2) an assault pistol; or

                    (3) a copycat weapon.

                                                     ...

                                                Copycat weapon

              (h)

                    (1) “Copycat weapon” means:

                           (i) a semiautomatic centerfire rifle that can accept a detachable
                           magazine and has any two of the following:

                                   1. a folding stock;

                                   2. a grenade launcher or flare launcher; or
                                   3. a flash suppressor;

                           (ii) a semiautomatic centerfire rifle that has a fixed magazine
                           with the capacity to accept more than 10 rounds;

                           (iii) a semiautomatic centerfire rifle that has an overall length of
                           less than 29 inches;

                                                 Add 2
USCA4 Appeal: 21-1255    Doc: 18         Filed: 04/19/2021    Pg: 73 of 83




                           (iv) a semiautomatic pistol with a fixed magazine that can accept
                           more than 10 rounds;

                           (v) a semiautomatic shotgun that has a folding stock; or

                           (vi) a shotgun with a revolving cylinder.

                    (2) “Copycat weapon” does not include an assault long gun or an assault
                    pistol.

                                          Detachable magazine

              (i) “Detachable magazine” means an ammunition feeding device that can be
              removed readily from a firearm without requiring disassembly of the firearm
              action or without the use of a tool, including a bullet or cartridge.

                                            Flash suppressor

              (j) “Flash suppressor” means a device that functions, or is intended to
              function, to perceptibly reduce or redirect muzzle flash from the shooter's field
              of vision.

                                                 ...



        Md. Code Ann., Pub. Safety § 5-101. Definitions

                                                 ...

                                         Regulated firearm

        (r) “Regulated firearm” means:

              (1) a handgun; or

              (2) a firearm that is any of the following specific assault weapons or their
              copies, regardless of which company produced and manufactured that assault
              weapon:

                    (i) American Arms Spectre da Semiautomatic carbine;

                    (ii) AK-47 in all forms;

                                               Add 3
USCA4 Appeal: 21-1255   Doc: 18        Filed: 04/19/2021     Pg: 74 of 83




                   (iii) Algimec AGM-1 type semi-auto;

                   (iv) AR 100 type semi-auto;

                   (v) AR 180 type semi-auto;

                   (vi) Argentine L.S.R. semi-auto;

                   (vii) Australian Automatic Arms SAR type semi-auto;

                   (viii) Auto-Ordnance Thompson M1 and 1927 semi-automatics;

                   (ix) Barrett light .50 cal. semi-auto;

                   (x) Beretta AR70 type semi-auto;

                   (xi) Bushmaster semi-auto rifle;

                   (xii) Calico models M-100 and M-900;

                   (xiii) CIS SR 88 type semi-auto;

                   (xiv) Claridge HI TEC C-9 carbines;

                   (xv) Colt AR-15, CAR-15, and all imitations except Colt AR-15
                   Sporter H-BAR rifle;

                   (xvi) Daewoo MAX 1 and MAX 2, aka AR 100, 110C, K-1, and K-2;

                   (xvii) Dragunov Chinese made semi-auto;

                   (xviii) Famas semi-auto (.223 caliber);

                   (xix) Feather AT-9 semi-auto;

                   (xx) FN LAR and FN FAL assault rifle;

                   (xxi) FNC semi-auto type carbine;

                   (xxii) F.I.E./Franchi LAW 12 and SPAS 12 assault shotgun;

                   (xxiii) Steyr-AUG-SA semi-auto;

                   (xxiv) Galil models AR and ARM semi-auto;


                                              Add 4
USCA4 Appeal: 21-1255   Doc: 18        Filed: 04/19/2021   Pg: 75 of 83




                   (xxv) Heckler and Koch HK-91 A3, HK-93 A2, HK-94 A2 and A3;

                   (xxvi) Holmes model 88 shotgun;

                   (xxvii) Avtomat Kalashnikov semiautomatic rifle in any format;

                   (xxviii) Manchester Arms “Commando” MK-45, MK-9;

                   (xxix) Mandell TAC-1 semi-auto carbine;

                   (xxx) Mossberg model 500 Bullpup assault shotgun;

                   (xxxi) Sterling Mark 6;

                   (xxxii) P.A.W.S. carbine;

                   (xxxiii) Ruger mini-14 folding stock model (.223 caliber);

                   (xxxiv) SIG 550/551 assault rifle (.223 caliber);

                   (xxxv) SKS with detachable magazine;

                   (xxxvi) AP-74 Commando type semi-auto;

                   (xxxvii) Springfield Armory BM-59, SAR-48, G3, SAR-3, M-21 sniper
                   rifle, M1A, excluding the M1 Garand;

                   (xxxviii) Street sweeper assault type shotgun;

                   (xxxix) Striker 12 assault shotgun in all formats;

                   (xl) Unique F11 semi-auto type;

                   (xli) Daewoo USAS 12 semi-auto shotgun;

                   (xlii) UZI 9mm carbine or rifle;

                   (xliii) Valmet M-76 and M-78 semi-auto;

                   (xliv) Weaver Arms “Nighthawk” semi-auto carbine; or

                   (xlv) Wilkinson Arms 9mm semi-auto “Terry”.

                                                ...


                                               Add 5
USCA4 Appeal: 21-1255     Doc: 18          Filed: 04/19/2021   Pg: 76 of 83




        Md. Code Ann., Crim. Law § 4-302. Scope of subtitle

        This subtitle does not apply to:

        (1) if acting within the scope of official business, personnel of the United States
        government or a unit of that government, members of the armed forces of the United
        States or of the National Guard, law enforcement personnel of the State or a local
        unit in the State, or a railroad police officer authorized under Title 3 of the Public
        Safety Article or 49 U.S.C. § 28101;

        (2) a firearm modified to render it permanently inoperative;

        (3) possession, importation, manufacture, receipt for manufacture, shipment for
        manufacture, storage, purchases, sales, and transport to or by a licensed firearms
        dealer or manufacturer who is:

              (i) providing or servicing an assault weapon or detachable magazine for a law
              enforcement unit or for personnel exempted under item (1) of this section;

              (ii) acting to sell or transfer an assault weapon or detachable magazine to a
              licensed firearm dealer in another state or to an individual purchaser in another
              state through a licensed firearms dealer; or

              (iii) acting to return to a customer in another state an assault weapon
              transferred to the licensed firearms dealer or manufacturer under the terms of
              a warranty or for repair;

        (4) organizations that are required or authorized by federal law governing their
        specific business or activity to maintain assault weapons and applicable ammunition
        and detachable magazines;

        (5) the receipt of an assault weapon or detachable magazine by inheritance, and
        possession of the inherited assault weapon or detachable magazine, if the decedent
        lawfully possessed the assault weapon or detachable magazine and the person
        inheriting the assault weapon or detachable magazine is not otherwise disqualified
        from possessing a regulated firearm;

        (6) the receipt of an assault weapon or detachable magazine by a personal
        representative of an estate for purposes of exercising the powers and duties of a
        personal representative of an estate;



                                                 Add 6
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021     Pg: 77 of 83




        (7) possession by a person who is retired in good standing from service with a law
        enforcement agency of the State or a local unit in the State and is not otherwise
        prohibited from receiving an assault weapon or detachable magazine if:

              (i) the assault weapon or detachable magazine is sold or transferred to the
              person by the law enforcement agency on retirement; or

              (ii) the assault weapon or detachable magazine was purchased or obtained by
              the person for official use with the law enforcement agency before retirement;

        (8) possession or transport by an employee of an armored car company if the
        individual is acting within the scope of employment and has a permit issued under
        Title 5, Subtitle 3 of the Public Safety Article; or

        (9) possession, receipt, and testing by, or shipping to or from:

              (i) an ISO 17025 accredited, National Institute of Justice-approved ballistics
              testing laboratory; or

              (ii) a facility or entity that manufactures or provides research and development
              testing, analysis, or engineering for personal protective equipment or vehicle
              protection systems.



        Md. Code Ann., Crim. Law § 4-303. Assault weapons—Prohibited

                                              In general

        (a) Except as provided in subsection (b) of this section, a person may not:

              (1) transport an assault weapon into the State; or

              (2) possess, sell, offer to sell, transfer, purchase, or receive an assault weapon.

                                              Exception

        (b)

              (1) A person who lawfully possessed an assault pistol before June 1, 1994,
              and who registered the assault pistol with the Secretary of State Police before
              August 1, 1994, may:

                     (i) continue to possess and transport the assault pistol; or
                                                Add 7
USCA4 Appeal: 21-1255    Doc: 18        Filed: 04/19/2021    Pg: 78 of 83




                    (ii) while carrying a court order requiring the surrender of the assault
                    pistol, transport the assault pistol directly to a law enforcement unit,
                    barracks, or station, a State or local law enforcement agency, or a
                    federally licensed firearms dealer, as applicable, if the person has
                    notified a law enforcement unit, barracks, or station that the person is
                    transporting the assault pistol in accordance with a court order and the
                    assault pistol is unloaded.

              (2) A licensed firearms dealer may continue to possess, sell, offer for sale, or
              transfer an assault long gun or a copycat weapon that the licensed firearms
              dealer lawfully possessed on or before October 1, 2013.

              (3) A person who lawfully possessed, has a purchase order for, or completed
              an application to purchase an assault long gun or a copycat weapon before
              October 1, 2013, may:

                    (i) possess and transport the assault long gun or copycat weapon; or

                    (ii) while carrying a court order requiring the surrender of the assault
                    long gun or copycat weapon, transport the assault long gun or copycat
                    weapon directly to a law enforcement unit, barracks, or station, a State
                    or local law enforcement agency, or a federally licensed firearms
                    dealer, as applicable, if the person has notified a law enforcement unit,
                    barracks, or station that the person is transporting the assault long gun
                    or copycat weapon in accordance with a court order and the assault long
                    gun or copycat weapon is unloaded.

              (4) A person may transport an assault weapon to or from:

                    (i) an ISO 17025 accredited, National Institute of Justice-approved
                    ballistics testing laboratory; or

                    (ii) a facility or entity that manufactures or provides research and
                    development testing, analysis, or engineering for personal protective
                    equipment or vehicle protection systems.

              (5) A federally licensed firearms dealer may receive and possess an assault
              weapon received from a person in accordance with a court order to transfer
              firearms under § 6-234 of the Criminal Procedure Article.




                                               Add 8
USCA4 Appeal: 21-1255     Doc: 18         Filed: 04/19/2021     Pg: 79 of 83




        Md. Code Ann., Crim. Law § 4-304. Assault weapons--Seizure and disposition

        A law enforcement unit may seize as contraband and dispose of according to
        regulation an assault weapon transported, sold, transferred, purchased, received, or
        possessed in violation of this subtitle.



        Md. Code Ann., Crim. Law § 4-306. Penalties

                                              In general

        (a) Except as otherwise provided in this subtitle, a person who violates this subtitle
        is guilty of a misdemeanor and on conviction is subject to imprisonment not
        exceeding 3 years or a fine not exceeding $5,000 or both.

                                Use in a felony or crime of violence

        (b)

              (1) A person who uses an assault weapon, a rapid fire trigger activator, or a
              magazine that has a capacity of more than 10 rounds of ammunition, in the
              commission of a felony or a crime of violence as defined in § 5-101 of the
              Public Safety Article is guilty of a misdemeanor and on conviction, in addition
              to any other sentence imposed for the felony or crime of violence, shall be
              sentenced under this subsection.

              (2)

                     (i) For a first violation, the person shall be sentenced to imprisonment
                     for not less than 5 years and not exceeding 20 years.

                     (ii) The court may not impose less than the minimum sentence of 5
                     years.

                     (iii) The mandatory minimum sentence of 5 years may not be
                     suspended.

                     (iv) Except as otherwise provided in § 4-305 of the Correctional
                     Services Article, the person is not eligible for parole in less than 5 years.




                                                 Add 9
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021     Pg: 80 of 83




              (3)

                     (i) For each subsequent violation, the person shall be sentenced to
                     imprisonment for not less than 10 years and not exceeding 20 years.

                     (ii) The court may not impose less than the minimum sentence of 10
                     years.

                     (iii) A sentence imposed under this paragraph shall be consecutive to
                     and not concurrent with any other sentence imposed for the felony or
                     crime of violence.



        Md. Code Ann., Pub. Safety § 5-101. Definitions

                                                  ...

                                         Disqualifying crime

        (g) “Disqualifying crime” means:

              (1) a crime of violence;

              (2) a violation classified as a felony in the State; or

              (3) a violation classified as a misdemeanor in the State that carries a statutory
              penalty of more than 2 years.

                                                  ...


        Md. Code Ann., Pub. Safety § 5-133. Restrictions on possession of regulated
        firearms
                                                  ...

                           Possession of regulated firearm prohibited

        (b) Subject to § 5-133.3 of this subtitle, a person may not possess a regulated firearm
        if the person:

              (1) has been convicted of a disqualifying crime;

                                                  ...
                                                Add 10
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021     Pg: 81 of 83




        Md. Code Ann., Pub. Safety § 5-133.3. Persons subject to regulated firearms
        disqualification

                                    Health Department defined

        (a) In this section, “Health Department” means the Maryland Department of Health.

                        Exemptions to regulated firearms disqualification

        (b) A person subject to a regulated firearms disqualification under § 5-133(b)(6), (7),
        (8), (9), (10), or (11) of this subtitle, a rifle or shotgun disqualification under § 5-
        205(b)(6), (7), (8), (9), (10), or (11) of this title, or prohibited from the shipment,
        transportation, possession, or receipt of a firearm by 18 U.S.C. §§
        922(d)(4) or (g)(4) as a result of an adjudication or commitment that occurred in the
        State may be authorized to possess a firearm if:

              (1) the person is not subject to another firearms restriction under State or
              federal law; and

              (2) the Health Department, in accordance with this section, determines that
              the person may possess a firearm.

                                                  ...

        Md. Code Ann., Pub. Safety § 5-205. Possession by person with mental disorder
                                             ...

                      Persons prohibited from possessing a rifle or shotgun

        (b) A person may not possess a rifle or shotgun if the person:


              (1) has been convicted of a disqualifying crime as defined in § 5-101 of this
              title;

                                                  ...




                                                Add 11
USCA4 Appeal: 21-1255     Doc: 18         Filed: 04/19/2021     Pg: 82 of 83




        18 U.S.C. § 921. Definitions

                                                    ...

        (20) The term “crime punishable by imprisonment for a term exceeding one year”
        does not include—

              (A) any Federal or State offenses pertaining to antitrust violations, unfair trade
              practices, restraints of trade, or other similar offenses relating to the regulation
              of business practices, or

              (B) any State offense classified by the laws of the State as a misdemeanor and
              punishable by a term of imprisonment of two years or less.

        What constitutes a conviction of such a crime shall be determined in accordance with
        the law of the jurisdiction in which the proceedings were held. Any conviction which
        has been expunged, or set aside or for which a person has been pardoned or has had
        civil rights restored shall not be considered a conviction for purposes of this chapter,
        unless such pardon, expungement, or restoration of civil rights expressly provides
        that the person may not ship, transport, possess, or receive firearms.

                                                    ...



        18 U.S.C. § 922. Unlawful acts

                                                    ...

        (g) It shall be unlawful for any person--

              (1) who has been convicted in any court of, a crime punishable by
              imprisonment for a term exceeding one year;

                                                    ...




                                                Add 12
USCA4 Appeal: 21-1255     Doc: 18        Filed: 04/19/2021    Pg: 83 of 83




                                    CERTIFICATE OF SERVICE

              Pursuant to Federal Rule of Appellate Procedure 25(d) and Local Rule

        25(b)(3), I hereby certify that on April 19, 2021, I electronically filed the foregoing

        brief with the Clerk of the Court by using the appellate CM/ECF system. Service on

        counsel for all parties has been accomplished via ECF.




                                                       /s/ David H. Thompson
                                                       David H. Thompson

                                                       Counsel for Plaintiffs-Appellants




                                                  45
